     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 1 of 127



     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


 UNITED STATES OF                    )
 AMERICA,                            )
                                     )
          Plaintiff,                 )
                                     )          CIVIL ACTION NO.
          v.                         )            2:15cv368-MHT
                                     )                (WO)
 STATE OF ALABAMA and                )
 ALABAMA DEPARTMENT OF               )
 CORRECTIONS,                        )
                                     )
          Defendants.                )

                             CONSENT DECREE

      It is ORDERED that all parties are enjoined and

restrained from         failing to       comply with this consent

decree,        which    replicates       the     parties’     settlement

agreement (doc. no. 2-1).

                           I.    INTRODUCTION

1.    The State of Alabama, the Alabama Department of

      Corrections       (“ADOC”),     and      the   United   States       of

      America enter into this Agreement with the goal of

      ensuring that inmates at the Julia Tutwiler Prison

      for      Women     are     provided       with     constitutional


                                     1
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 2 of 127



      conditions that protect them from sexual abuse and

      sexual harassment.

2.    The    Civil    Rights    Division         of    the   United     States

      Department of Justice commenced an investigation of

      allegations of sexual abuse and sexual harassment

      at    Tutwiler      pursuant         to    the    Civil     Rights     of

      Institutionalized         Persons         Act,   42    U.S.C.    §   1997

      (“CRIPA”).

3.    On January 17, 2014, the United States issued an

      investigative findings letter that concluded that

      certain     conditions      at   Tutwiler        violated       inmates’

      constitutional rights (“Findings Letter”) (attached

      as Appendix A).           Specifically, the United States

      concluded that ADOC violated the Eighth Amendment

      of the United States Constitution by failing to

      protect women inmates at Tutwiler from harm due to

      sexual       abuse       and         sexual       harassment         from

      correctional staff.

4.    DOJ    acknowledges      and     appreciates          the   cooperation

      and good faith shown to the Department of Justice


                                       2
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 3 of 127



 and its representatives on the part of the Governor

 of    Alabama,       the     Commissioner             of    the       Alabama

 Department of Corrections, ADOC’s leadership, and

 staff.        DOJ was given full access to Tutwiler’s

 physical      plant,        its        inmates,       its      staff,     its

 vendors,      and       thousands           of   pages      of      documents

 requested by DOJ and its experts for review.                              The

 Governor, Commissioner, and the ADOC’s management

 team have demonstrated a commitment to improving

 conditions at Tutwiler for the women inmates who

 reside there        and staff who                work there          and have

 devoted       significant              monetary          and        personnel

 resources towards making Tutwiler a safer facility

 and towards PREA compliance.                        In March 2014, the

 Commissioner        created            a     new      position,        Deputy

 Commissioner for Women’s Facilities.                           The primary

 mission      of     this     new           position    is      to     provide

 executive         and      operational             oversight         of   the

 management of women inmates in the custody of ADOC,

 specifically        the      Tutwiler            Prison        for     Women,


                                    3
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 4 of 127



      Montgomery        Women’s    Facility        and    Birmingham        Work

      Release Center.           Dr. Wendy Williams was appointed

      to   be   the     first     Deputy    Commissioner         of    Women’s

      Facilities        on     April       16,    2014.          Since        her

      appointment, Dr. Williams has dedicated her time to

      ensure     that    major     changes       were    taking       place    at

      Tutwiler and at all of the ADOC’s women facilities.

      ADOC will continue to seek sustainable improvements

      to   promote      positive       outcomes     for    staff      and     the

      women they supervise.

5.    DOJ recognizes Alabama and ADOC’s high level of

      cooperation        and    willingness        to    enter    into      this

      Agreement without the need for litigation. As a

      result of this cooperation, DOJ, ADOC, and Alabama

      believe       this       Agreement         represents       the       best

      opportunity to address the United States’ concerns

      regarding       sexual    abuse      and    sexual    harassment         at

      Tutwiler.

6.    Resolving this matter with this Agreement is in the

      best interests of the ADOC and Tutwiler inmates.


                                       4
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 5 of 127



      Pursuant      to     Fed.     R.       Civ.    P.      41(a)(2),      this

      Agreement      will     be    filed       in     the     United     States

      District       Court,        Middle       District         of     Alabama,

      together      with    a      joint      motion      to    conditionally

      dismiss     the    Complaint           under   the       conditions    set

      forth in this Agreement. This case will remain on

      the Court’s inactive docket during the term of this

      Agreement.        DOJ, ADOC, Alabama, or the Monitor may

      request status conferences to assist in informally

      resolving      disputes,       if      needed.         The   Court    will

      retain jurisdiction only to enforce the terms of

      this Agreement and to resolve disputes between DOJ,

      ADOC, and Alabama.

7.    This Agreement shall be filed in the United States

      District Court, Middle District of Alabama.                            The

      Court has jurisdiction over this action pursuant to

      28 U.S.C. §1331; 28 U.S.C. § 1345; and 42 U.S.C. §

      1997.     Venue is proper in this district pursuant to

      28 U.S.C. § 1391(b).




                                         5
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 6 of 127



8.    This      Agreement       shall          constitute         the     entire

      integrated      Agreement         of    DOJ,    ADOC,      and    Alabama.

      Except for the United States’ January 17, 2014,

      Findings      Letter,        no       prior     or     contemporaneous

      communications, oral or written, or prior drafts

      shall be relevant or admissible for purposes of

      determining the meaning of any provisions of the

      Agreement.

9.    This    Agreement       is    binding         upon    DOJ,    ADOC,     and

      Alabama, by and through their officials, agents,

      employees,       and     successors.           This        Agreement    is

      enforceable      only    by       DOJ,    ADOC,      and     Alabama.   No

      person or entity is intended to be a third-party

      beneficiary of the provisions of this Agreement or

      any reports drafted, compiled, completed, or filed

      as a result of this Agreement for purposes of any

      civil,     criminal,         or   administrative            action,     and

      accordingly, no person or entity may assert any

      claim or right as a beneficiary or protected class

      under    this    Agreement         or    any    such    reports.       This


                                        6
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 7 of 127



      Agreement       and     any    reports       drafted,      compiled,

      completed, or filed as a result of this Agreement

      are not intended to impair or expand the right of

      any person or organization to seek relief against

      the ADOC for its conduct or the conduct of ADOC

      employees;      accordingly,         they   do     not   alter   legal

      standards       governing      any    such       claims,   including

      those under Alabama law. This Agreement and any

      reports drafted, compiled, completed, or filed as a

      result     of   this    Agreement      do    not    authorize,     nor

      shall they be construed to authorize, access to any

      ADOC, contractor, or DOJ documents by persons or

      entities other than the               DOJ, the ADOC,         and the

      Monitor.



                             II. DEFINITIONS

A.    “ADOC”       means       the       Alabama         Department        of

      Corrections.1




    1. For purposes of this Agreement, the ADOC’s
commitments are limited to Tutwiler Prison for Women.
                                     7
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 8 of 127



B.    “Compliance”          is       discussed              throughout         this

      Agreement      in     the    following          terms:        substantial

      compliance,           partial            compliance,          and        non-

      compliance.           “Substantial             Compliance”        indicates

      that    ADOC    and     Tutwiler          have      achieved      material

      compliance      with        most    or     all      components      of    the

      relevant      provision       of        the    Agreement.         “Partial

      Compliance” indicates that ADOC and Tutwiler have

      achieved       material       compliance              on   some     of    the

      components       of    the         relevant         provision       of    the

      Agreement, but significant work remains.                                 “Non-

      compliance” indicates that ADOC and Tutwiler have

      not    met    most    or     all    of        the   components      of    the

      relevant provision of the Agreement.                              “Material

      Compliance”         requires        that,       for    each    provision,

      ADOC and Tutwiler have developed and implemented a

      policy       incorporating           the       requirement,         trained

      relevant      personnel       on        the    policy,     and    relevant

      personnel are complying with the requirement in

      actual practice.


                                          8
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 9 of 127



C.    “Contractor” means a person who provides services

      on a recurring basis pursuant to a contractual

      agreement with the State of Alabama or ADOC.

D.    “Corrections staff” means all ADOC employees and

      contractors,       irrespective       of    job    title,     whose

      regular duties include the supervision and control

      of inmates throughout Tutwiler.

E.    “Document” is defined to include any designated

      documents or electronically stored information -

      including      writings,      handwritten       notes,    letters,

      emails,         memoranda,         policies,          procedures,

      protocols,      curricula,      drawings,       graphs,     charts,

      photographs, sound recordings, images, and other

      data or data compilations - stored in any medium

      from    which     information      can     be   obtained    either

      directly or, if necessary, after translation by

      ADOC and Alabama into a reasonably usable form.                      A

      draft or non-identical copy is a separate document

      within the meaning of this term.




                                     9
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 10 of 127



F.     “DOJ” shall refer to the United States Department

       of Justice, which represents the United States in

       this matter.

G.     “Employee” means a person who works directly for

       ADOC or Tutwiler.

H.     “Exigent circumstances” means any set of temporary

       and     unforeseen        circumstances           that     require

       immediate action in order to combat a threat to

       the security or institutional order of Tutwiler.

I.     “Effective Date” shall mean the date the Agreement

       is signed by DOJ, ADOC, and Alabama.

J.     “Gender dysphoria” is when a person’s gender at

       birth is contrary to the one they identify with.

K.     “Gender      nonconforming”        means     a    person     whose

       appearance       or    manner      does     not     conform      to

       traditional societal gender expectations.

L.     “Gender-responsive principles” reflect operational

       practices in a prison setting based on empirical

       and    gender     based    differences.           Being    gender-

       responsive means adopting the principles, training


                                     10
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 11 of 127



       employees, and creating and maintaining a prison

       environment      that    is   grounded     in    evidence           based

       practice,     experience,       research,       and   theory        that

       acknowledges       women’s     pathways    into       the   criminal

       justice     system      and    addresses        issues      such      as

       history of sexual and physical abuse, violence,

       family     relationships,           substance     abuse,        mental

       illness and co-occurring disorders.

M.     To “implement” a policy means:                   the policy has

       been     drafted     and      disseminated       to      all        staff

       responsible for following or applying the policy;

       all    relevant     staff     have     been     trained        on     the

       policy; compliance with the policy is monitored

       and tracked through compliance tools; the policy

       is     consistently         applied      and      followed,            as

       demonstrated by the compliance tools; and there

       are corrective action measures to address lapses

       in application of the policy.

N.     “Include” or “including” means “include, but not

       be limited to” or “including, but not limited to.”


                                      11
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 12 of 127



O.     “Inmate” means any person incarcerated or detained

       at Tutwiler or any facility that is built or used

       to replace Tutwiler.

P.     “Intersex”       means        a     person     whose      sexual   or

       reproductive anatomy or chromosomal pattern does

       not seem to fit typical definitions of male or

       female.      Intersex medical conditions are sometimes

       referred to as disorders of sex development.

Q.     “Medical Practitioner” means a health professional

       who,    by   virtue      of       education,    credentials,       and

       experience, is licensed (if required by law) and

       permitted to evaluate and care for patients within

       the scope of his or her professional practice.

R.     “Mental Health Practitioner” means a mental health

       professional        who,          by   virtue        of   education,

       credentials,       and     experience,          is    licensed     (if

       required by law) and permitted to evaluate and

       care for patients within the scope of his or her

       professional practice.




                                         12
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 13 of 127



S.     “Monitor” means an individual selected to oversee

       implementation of the Agreement.

T.     “Pat-down search” means a running of the hands

       over the clothed body of an inmate by an employee

       to     determine     whether     the    individual        possesses

       contraband.

U.     “PREA” means the Prison Rape Elimination Act of

       2003 and implementing regulations, 28 C.F.R. pt.

       115.

V.     A    ‘‘qualified      medical        practitioner’’        means     a

       health professional who, by virtue of education,

       credentials,        and   experience,         is     licensed      (if

       required by law) and permitted to evaluate and

       care for patients within the scope of his or her

       professional         practice         and      who       has      also

       successfully       completed        specialized       training     for

       treating sexual abuse victims.

W.     A ‘‘qualified mental health practitioner’’ means a

       mental     health     professional          who,    by   virtue     of

       education,         credentials,        and         experience,      is


                                      13
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 14 of 127



       licensed (if required by law) and permitted to

       evaluate and care for patients within the scope of

       his or her professional practice and who has also

       successfully         completed        specialized    training       for

       treating sexual abuse victims.

X.     “Real-time video monitoring” means a staff member

       is          assigned       to         monitor       video      feeds

       contemporaneously with recorded events and has the

       capacity to intervene or cause intervention in an

       emergency to ensure the protection and safety of

       inmates and/or staff.

Y.     “Sexual abuse” includes:

       1. Sexual abuse of an inmate by a staff member,

            includes       any   of    the    following    acts,    with    or

            without consent of the inmate:

              i.     Contact between the penis and the vulva or

                     the      penis     and     the    anus,       including

                     penetration, however slight;

              ii. Contact between the mouth and the penis,

                     vulva, or anus;


                                        14
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 15 of 127



        iii. Contact     between       the    mouth    and       any    body

             part where the staff member has the intent

             to    abuse,       arouse,       or     gratify          sexual

             desire;

        iv. Penetration         of     the     anal         or       genital

             opening,        however     slight,       by        a     hand,

             finger, object, or other instrument, that

             is unrelated to official duties or where

             the staff member has the intent to abuse,

             arouse or gratify sexual desire;

        v.   Any     other     intentional          contact,          either

             directly or through the clothing of, or

             with the genitalia, anus, groin, breast,

             inner     thigh,    or     the    buttocks,         that     is

             unrelated to official duties or where the

             staff     member    has     the       intent    to      abuse,

             arouse or gratify sexual desire;

        vi. Any attempt, threat, or request by a staff

             member      to     engage        in     the     activities




                                15
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 16 of 127



              described              in      paragraphs           (i)-(v)

              immediately above;

        vii. Any display by a staff member of his or

              her    uncovered            genitalia,      buttocks,     or

              breast in the presence of an inmate; and

        viii. Voyeurism by a staff member.

  2. Sexual    abuse      of    an    inmate      by    another   inmate,

     including      any    of    the       following      acts,   if   the

     victim does not consent, is coerced into such act

     by overt or implied threats of violence, or is

     unable to consent or refuse:

        i.    Contact between the penis and the vulva or

              the    penis           and    the        anus,   including

              penetration, however slight;

        ii. Contact between the mouth and the penis,

              vulva, or anus;

        iii. Penetration of the anal or genital opening

              of another person, however slight, by a

              hand, finger, object, or other instrument;

              and


                                     16
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 17 of 127



             iv. Any     other     intentional        touching,        either

                  directly or through the clothing, of the

                  genitalia,       anus,     groin,       breast,      inner

                  thigh, or the buttocks of another person,

                  excluding contact incidental to a physical

                  altercation.

Z.     “Sexual harassment” includes:

       1.    Repeated      and      unwelcome         sexual        advances,

             requests for sexual favors, or verbal comments,

             gestures,      or    actions       of    a   derogatory        or

             offensive sexual nature by one inmate directed

             toward another; and

       2.    Repeated     verbal     comments        or   gestures     of   a

             sexual nature to an inmate by a staff member

             including      demeaning       references         to     gender,

             sexually     suggestive       or    derogatory         comments

             about body or clothing, or obscene language or

             gestures.

AA. “Shift relief factor” means the number of full-time

       equivalent staff needed to fill a relieved post


                                     17
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 18 of 127



    (one that is covered on a continuous basis) for a

    single shift.          Four basic variables are considered

    in determining the shift relief factor:                        how often

    and how long posts are to be filled; number of days

    per week posts are authorized to be filled; whether

    the post must be relieved to keep it filled during

    the shift (e.g., meal relief, scheduled breaks);

    and leave and absence patterns of the workforce,

    including both paid and unpaid leave.

BB. “Staff” or “staff member” includes all persons who

    are    assigned       to    work       at    Tutwiler     or     provide

    services      to      inmates          at     Tutwiler,        including

    corrections staff, medical practitioners, mental

    health practitioners, and employees of any agency

    of    the    State,        and   including        contractors        and

    volunteers       who       provide          services     at    Tutwiler

    without pay.

CC. “Strip      search”    means       a    search    that    requires     a

    person to remove or arrange some or all clothing




                                     18
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 19 of 127



    so     as     to    permit          a    visual      inspection      of    the

    person’s breasts, buttocks, or genitalia.

DD. “Substantiated            allegation”              means    an    allegation

    that        was    investigated              and    determined     to     have

    occurred.

EE. “Supervisory staff” means any staff member who has

    the responsibility to oversee the work of another

    staff       member       or    inmate        or    groups    of    staff    or

    inmates and includes anyone that ADOC designates

    as having the responsibility to oversee the work

    of another staff member and/or inmate or group of

    staff and/or inmates.

FF. “Train” means that qualified instructors educate

    employees           in        the       skills,       knowledge         and/or

    abilities          addressed            to   a     level    at    which    the

    trainee           has    the        demonstrated           proficiency      to

    implement those skills as, and when called for, in

    the training.             “Trained” means a demonstration of

    staff       proficiency         through          documented      testing    or

    other means.


                                            19
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 20 of 127



GG. “Transgender” means a person whose gender identity

    (i.e., internal sense of feeling male or female)

    is different from the person’s assigned sex at

    birth.

HH. “Tutwiler” refers to the Julia Tutwiler Prison for

    Women located in Wetumpka, Alabama and includes

    all buildings located on the Tutwiler campus.

II. “Unfounded       allegation”      means     an    allegation        that

    was    investigated       and        determined        not    to    have

    occurred.

JJ. “Unsubstantiated allegation” means an allegation

    that     was     investigated         and    the       investigation

    produced       insufficient     evidence         to    make    a   final

    determination       as   to     whether     or        not    the   event

    occurred.

KK. “Volunteer” means an individual who donates time

    and effort on a recurring basis to enhance the

    activities and programs of ADOC.

LL. “Voyeurism” by a staff member means an invasion of

    privacy     of     an    inmate       by    staff       for    reasons


                                    20
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 21 of 127



       unrelated to official duties, such as peering at

       an inmate who is using a toilet to perform bodily

       functions;       requiring      an   inmate    to    expose     her

       buttocks, genitals, or breasts; or taking images

       of all or part of an inmate’s naked body or of an

       inmate performing bodily functions.



                     III. SUBSTANTIVE PROVISIONS

        ADOC and Tutwiler shall take all actions necessary

to    comply     with    the    substantive       provisions     of    this

Agreement detailed below in order to prevent, detect,

and respond to allegations of sexual abuse and sexual

harassment at Tutwiler.               Compliance with the Agreement

will      be    measured       both    by   whether      the    technical

provisions        are    implemented        and    whether     women        at

Tutwiler are provided a safe and secure environment

free of sexual abuse and sexual harassment as required

by the United States Constitution.



A. General Policies and Procedures


                                      21
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 22 of 127



       ADOC      and    Tutwiler         shall     develop        and     implement

gender-responsive policies,                     procedures,       and practices

to ensure that inmates at Tutwiler are protected from

harm     due     to     sexual          abuse     and     sexual     harassment.

Accordingly:

       1. ADOC     and        Tutwiler          shall      comply        with     all

         provisions          of    PREA.         ADOC    and     Tutwiler       shall

         continue        to       comply        with    the      ADOC’s       written

         policies and procedures mandating zero tolerance

         toward        all    forms       of    sexual     abuse        and    sexual

         harassment. This Agreement takes precedence over

         any     ADOC    and/or         Tutwiler        policy    governing       the

         operation of Tutwiler and that may conflict with

         this Agreement.

       2. ADOC and Tutwiler shall develop, submit to the

         Monitor        and       DOJ     for     review       consistent       with

         Section        III.A.6.,         and     implement        policies       and

         procedures regarding the management of lesbian,

         gay, bisexual, transgender, intersex, and gender

         nonconforming             inmates.              The      policy        shall


                                           22
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 23 of 127



     emphasize the rights of lesbian, gay, bisexual,

     transgender, intersex, gender nonconforming and

     gender       dysphoric      inmates      to     a    safe,    non-

     discriminatory       and     respectful        environment     and

     shall include the following:

        i.    A    qualified      mental      health     practitioner

              with     experience        in        recognizing      and

              diagnosing         co-existing        mental        health

              concerns     and     distinguishing         these    from

              gender    dysphoria,     knowledge         about    gender

              non-conforming identities and expressions

              and the assessment and treatment of gender

              dysphoria, should be assigned inmates with

              gender          non-conforming              identities,

              including gender dysphoric inmates;

        ii. An inmate diagnosed with gender dysphoria

              should be offered appropriate non-surgical

              treatment     as    determined        by   a   qualified

              health care practitioner; and




                                 23
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 24 of 127



          iii. ADOC    and   Tutwiler        shall    provide        ADOC-

              issued     clothing      and    hygiene        items    and

              facilities     appropriate         to    the    needs    of

              transgender and gender dysphoric inmates.

  3. ADOC and Tutwiler shall continue to comply with

     its policy that ensures women receive essential

     supplies, including hygiene and feminine hygiene

     products, tampons and pads; linens; and uniforms

     by making them available on a monthly basis or

     more     frequently     as    needed.       The    policy        will

     continue to require the tracking and distribution

     of     these     products.        ADOC     and    Tutwiler       will

     continue to ensure that both tampons and sanitary

     pads are readily available, free of charge, to

     Tutwiler inmates.

  4. ADOC    and    Tutwiler      shall   develop      and    implement

     policies and procedures that incorporate gender-

     responsive       strategies,      including       policies       and

     procedures       governing     the   use    of    force    against

     women inmates and discipline of women inmates.


                                  24
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 25 of 127



  5. ADOC    and     Tutwiler    shall       continue      to    develop,

     submit     to     the     Monitor       and    DOJ    for     review

     consistent with Section III.A.6., and implement

     facility-specific           policies          and     operational

     practices       specific        to     Tutwiler’s      population

     regarding        the      supervision          and     monitoring

     necessary to prevent inmates from being exposed

     to an unreasonable risk of harm from sexual abuse

     and harassment.          The policies and practices must

     include:

        i.    Post orders for first-line supervision of

              corrections staff for each housing unit in

              accordance with the operational practices

              developed;

        ii. Procedures regarding communication to and

              from corrections staff assigned to housing

              units;

        iii. The     continued       requirement      of   supervision

              by     corrections          staff    assigned      to   all

              housing        areas    and     dormitory         settings,


                                 25
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 26 of 127



             including direct supervision of Dorm A, if

             that unit continues to be used for intake,

             and the administration of adequate rounds

             by      corrections        staff            and      security

             supervisors in all areas of the prison,

             including dormitories.                Such rounds shall

             occur    unannounced,          at    least       every   hour,

             inside     each     general          population         housing

             unit    and   at   least       once    every       30    minute

             period for special management inmates, or

             more      often      if        necessary.                Video

             surveillance       may    be    used       to     supplement,

             but must not be used to replace rounds by

             correctional officers;

        iv. The         continued                requirement           that

             intermediate          level           or         higher-level

             supervisors          conduct               and      document

             unannounced rounds during both the day and

             night shifts to identify and deter staff

             sexual abuse and sexual harassment.                      Other


                                26
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 27 of 127



              staff members should not be alerted that

              these rounds are occurring; and

        v.    The continued requirement to document all

              security rounds on forms or logs that do

              not contain pre-printed rounding times.

  6. ADOC and Tutwiler shall revise and/or develop and

     implement,      as   necessary,             any    other     policies,

     practices,        procedures,           protocols,            training

     curricula, and other written documents, including

     but     not    limited     to,        screening         tools,     logs,

     handbooks, manuals, and forms, to effectuate the

     provisions of this Agreement.

        i.    ADOC and Tutwiler shall work together with

              the    Monitor    to     draft           new    policies   and

              procedures and/or revise existing policies

              and      procedures            pursuant            to      this

              Agreement.       ADOC        and    Tutwiler       will    then

              send     copies         of      such           policies    and

              procedures to DOJ for review and comment

              consistent with this Agreement.


                                27
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 28 of 127



        ii. DOJ shall signify its approval, or provide

             any comments to ADOC and Tutwiler within

             15     days    of     receipt        of    policies        and

             procedures.

        iii. ADOC    and    Tutwiler,      in     consultation        with

             the Monitor, will consider DOJ’s comments

             and    input     when       determining      whether        to

             further        revise         the         policies         and

             procedures.

        iv. If      ADOC    and        Tutwiler    choose       not      to

             incorporate DOJ’s comments into                    further

             revisions,      they       will    explain    to     DOJ    in

             writing the reasons for doing so. While

             ADOC     and    Tutwiler       should       refrain      from

             implementing          policies        and      procedures

             during the period they are under review by

             DOJ, ADOC and Tutwiler need not postpone

             the    implementation         of     any     policies       or

             procedures once they have received DOJ’s




                                  28
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 29 of 127



                   comments     (or        the    15   day    period    for

                   commenting expires).



B. Camera Management

        The ADOC has implemented a state-of-the-art camera

system at Tutwiler, and contracted with an expert who

has     conducted     a     review    of    the   ADOC’s     Camera    Plan,

including a review of each camera’s placement.                         As a

result of that review, cameras are strategically placed

to     maximize      supervision       while       protecting    privacy.

Policies directing the appropriate use of cameras and

periodic staff training to ensure sustainability and

effective operation of the camera system will remain as

standard operational practice.

       1. Camera Management policies and procedures will

          remain in effect at Tutwiler.

       2. Camera      management       policies        and    procedures,

          including the locations where cameras have been

          placed, will be reviewed at least annually to

          ensure     that    they     are    serving    their    goal       of


                                      29
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 30 of 127



        maximizing supervision.           To the extent that any

        changes     to   the   Camera   Management      policies     and

        procedures, or to a camera location, need to be

        made they will be made within 30 days of the

        completion of the annual review.                 If a change

        cannot be made within 30 days, the reason for

        exceeding 30 days will be documented.

C. Staffing

      In order to address low staffing levels and the

need for more women officers, ADOC and Tutwiler shall

ensure that correctional staffing and supervision is

sufficient to adequately supervise inmates and staff

and    allow    for      the   safe     operation      of    Tutwiler.

Accordingly:

      1. Phase I:

          i.   ADOC      and    Tutwiler      shall     continue         to

               develop, submit to the Monitor and DOJ to

               assess for compliance with this Agreement,

               and implement its plan to recruit women




                                  30
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 31 of 127



             correctional        officers         at        Tutwiler.       To

             this end, ADOC shall:

                 1. Continue      working         with           the   Alabama

                    Peace Officers Standards and Training

                    Commission        (APOSTC)              in     screening,

                    selecting,        or    hiring          applicants      for

                    the    entry-level           corrections           officer

                    positions until such standards, or any

                    other physical test employed, are:

                         a. Validated           for         a     corrections

                           environment; and

                         b. Examined       for        the       necessity    of

                           gender-norming                              certain

                           components.

                 2. Continue to conduct physical fitness

                    assessments            on     all            correctional

                    officer      trainees,             to        include    the

                    provision of training recommendations

                    to    meet     APOSTC         physical             training

                    requirements.


                                 31
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 32 of 127



                 3. Examine     workplace     practices      such      as

                    mandatory overtime and shift length to

                    assess whether any of those practices

                    may      negatively     impact      hiring      and

                    retaining women candidates.

        ii. ADOC      shall     continue       the    practice         of

             allowing         officers      from      other       ADOC

             facilities to serve overtime or otherwise

             be temporarily assigned at Tutwiler only

             after those officers have been trained as

             required by this Agreement.

        iii. Within six months of the Effective Date,

             and every six months thereafter, ADOC and

             Tutwiler will provide to the Monitor and

             DOJ the numbers of men and women who have

             taken     any    required     entry-level      physical

             examination(s) and the results of any such

             tests broken down by gender for each test

             administration.




                                32
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 33 of 127



        iv. ADOC shall continue to employ an upper-

             level,     Department-wide         PREA     Coordinator

             with     sufficient       time    and     authority       to

             develop,       implement,         and     oversee     its

             efforts to comply with the PREA standards

             at Tutwiler and all of its facilities.

        v.   ADOC and Tutwiler shall designate a full-

             time     (40      hours/week)       PREA     Compliance

             Manager     who    has    no   other     duties   within

             ADOC or Tutwiler and who is assigned to

             oversee     PREA    compliance      at    Tutwiler.       In

             addition,      this      person   will    work    closely

             with     the     PREA     Compliance       Managers       at

             Montgomery Women’s Facility and Birmingham

             Work    Release     for    consistency      in    women’s

             services and monitor              any other facility

             that is built to house women inmates on

             PREA-related        matters.        This     individual

             will      have        sufficient         authority        to

             coordinate        Tutwiler’s      efforts    to   comply


                                 33
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 34 of 127



             with the PREA standards. Further, ADOC and

             Tutwiler shall:

             1. Ensure that Tutwiler’s PREA Compliance

                  Manager reports directly to the Warden

                  or        the        Department-wide            PREA

                  Coordinator;

             2. Develop, in policy, a job description

                  for Tutwiler’s PREA Compliance Manager

                  with     expected      responsibilities,         and

                  submit this policy to the Monitor and

                  DOJ for review consistent with Section

                  III.A.6.;

             3. Provide training to the Tutwiler PREA

                  Compliance Manager necessary to fulfill

                  his or her duties; and

             4. Document the Tutwiler PREA Compliance

                  Manager’s activities.

  2. Phase II:

        i.   ADOC and Tutwiler shall develop, document,

             and implement a staffing plan, based on


                                  34
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 35 of 127



             gender-responsive          principles            and     PREA

             requirements,       that    provides       for    adequate

             staffing      levels     and,      where      applicable,

             video      monitoring,       to     protect        inmates

             against        sexual       abuse          and         sexual

             harassment.        This staffing plan shall be

             provided to the Monitor and DOJ and shall

             include the following:

             1. Identification          of      all        posts      and

                 positions     at     Tutwiler,       including       any

                 gender-specific posts required for the

                 safe operation of the facility;

             2. Shift relief factor for Tutwiler;

             3. Policies      and    procedures       for     reviewing

                 and amending Tutwiler’s staffing plan.

        ii. In    calculating        adequate    staffing       levels,

             ADOC    and    Tutwiler     shall,       as    part     of   a

             staffing analysis, consider:

             1. Generally           accepted      detention           and

                  correctional practices;


                                35
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 36 of 127



             2. ADOC      and   Tutwiler’s       determination         of

                  which necessary duties will be handled

                  by    Tutwiler      staff,     ADOC    staff,        or

                  outside agencies;

             3. Any      findings     of    inadequacy       from   any

                  investigative agencies within ADOC;

             4. Any        findings        of    inadequacy         from

                  internal or external oversight bodies;

             5. The      Camera      Management      Plan    and     all

                  components of the facility’s physical

                  plant;

             6. The        composition          of    the      inmate

                  population;

             7. The number and placement of supervisory

                  staff;

             8. Institution programming and options for

                  supervision of inmates;

             9. A      Tutwiler       specific       shift    relief-

                  factor;




                                36
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 37 of 127



             10. Any     applicable       state       or    local      laws,

                   regulations, or standards; and

             11. The     prevalence          of     substantiated         and

                   unsubstantiated           incidents          of    sexual

                   abuse and sexual harassment.

        iii. Within nine months of the Effective Date,

             ADOC      and     Tutwiler           shall    submit       this

             staffing plan and staffing analysis to the

             Monitor and DOJ for review and comment,

             and    shall     maintain        the     underlying         data

             utilized         in    conducting            the        staffing

             analysis and plan and provide this data to

             DOJ or the Monitor if requested.

        iv. Within      one    year     of    the     Effective        Date,

             ADOC and Tutwiler shall adopt the results

             of the staffing plan consistent with PREA

             standards.

        v.   ADOC    and     Tutwiler,       in     consultation         with

             the    Department-wide          PREA     Coordinator         and

             Tutwiler's PREA Compliance Manager, shall


                                   37
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 38 of 127



             assess,      determine,        and    document      via     a

             Staffing       Update        and     Staffing      Report,

             whether      adjustments        are    needed      to     the

             staffing     plan,      and    –taking      into   account

             available        resources–           implement         such

             adjustments.

        vi. The Staffing Update shall be provided to

             the Monitor and DOJ quarterly and shall

             include the following information:

             1. A listing of staff hired at Tutwiler,

                  by gender and positions filled; and

             2. A     listing     of      staff    who   ended       their

                  employment         at     Tutwiler,        including

                  gender,      position,          and    reason        for

                  separation.

        vii. The Staffing Report shall be provided to

             the Monitor and DOJ every six months in

             the first year after the Effective Date

             and yearly thereafter until termination of




                                38
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 39 of 127



             this Agreement.           Each Staffing Report will

             include the following information:

             1. An      evaluation       of     existing         staffing

                   levels and need for adjustments;

             2. A     listing     of    each   post   and        position

                   needed;

             3. The      number    of    hours    needed     for     each

                   post and position;

             4. A listing of staff, by gender, working

                   overtime at Tutwiler and the amount of

                   overtime worked by each staff member;

             5. A     listing     of     supervisors        by     gender

                   working overtime at Tutwiler; and

             6. Tutwiler’s assessment of its ability to

                   comply with the staffing plan.

        viii. To     the     extent     such     policy     does     not

               already     exist,       the    ADOC   and        Tutwiler

               shall develop, submit to the Monitor and

               DOJ   for     review     consistent    with        Section




                                39
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 40 of 127



               III.A.6.,       and     implement        a    policy       that

               includes:

             1. That      ADOC       and    Tutwiler        not     hire    or

                  promote,       or    enlist       the      services       of

                  anyone       who     may    have          contact       with

                  inmates,       and       shall    not          enlist    the

                  services of any contractor who may have

                  contact with inmates at Tutwiler, who:

                  (1)    has    engaged       in    sexual         abuse    or

                  sexual    harassment        in    a       prison,       jail,

                  lockup, community confinement facility,

                  juvenile            facility,              or           other

                  institution; (2) has been convicted of

                  engaging      or     attempting           to    engage    in

                  sexual       activity        in       the        community

                  facilitated by force, overt or implied

                  threats of force, or coercion, or if

                  the    victim       did    not     consent         or     was

                  unable to consent or refuse; or, (3)

                  has   been     civilly      or     administratively


                                 40
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 41 of 127



                  adjudicated         to    have         engaged       in    the

                  activity described in this section. To

                  this end, ADOC and Tutwiler shall:

                       a. Follow ADOC policy that requires

                          that all new employees be asked

                          about       previous            misconduct,        as

                          defined      above         in    Subsection        1.

                          This        can           be         in      written

                          application or documented as part

                          of    an    interview.                ADOC    policy

                          shall       be   amended         to        state   the

                          same in regards to promotions.

                       b. Perform          a    criminal             background

                          records check; and

                       c. Contact      all      prior          institutional

                          employers            for       information          on

                          substantiated               allegations             of

                          sexual           abuse               and      sexual

                          harassment           or        any     resignation

                          during a pending investigation of


                                 41
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 42 of 127



                          an allegation of sexual abuse and

                          sexual harassment.

             2. ADOC and Tutwiler shall conduct criminal

                background records checks at least once

                every five years for current employees

                and respond to any relevant results of

                those     checks      as    described    in    Section

                III.K below.

             3. ADOC and Tutwiler shall conduct criminal

                background records checks at least once

                every five years for contractors who may

                have    contact       with    inmates.        For   any

                current ADOC staff temporarily assigned

                to     Tutwiler       for    regular    or    overtime

                duty, Tutwiler will create a system to

                manage     and     track     any   allegations         of

                sexual harassment or sexual abuse made

                against them at the ADOC facility they

                are assigned to.




                                 42
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 43 of 127



             4. Consistent with ADOC policy, employees

                have an affirmative duty to disclose any

                previous       sexual        abuse     and      sexual

                harassment, as described in Subsection

                1. above.        Material omissions of such

                information          shall     be     grounds        for

                termination.

             5. ADOC     and    Tutwiler       will     conduct        an

                initial     criminal     records      check     on   all

                Tutwiler volunteers.           Any volunteer with

                a background that includes engaging in

                sexual abuse may not be utilized as a

                volunteer.        At least every five years,

                Tutwiler       and    ADOC     will     perform        an

                additional criminal background check on

                all current volunteers.

        ix. When ADOC or any other governmental entity

             responsible       for    collective      bargaining       on

             ADOC’s behalf contracts for services with

             individuals,       private      agencies      or    other


                                43
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 44 of 127



                 entities,      including            other       government

                 agencies, they shall include in any new

                 contracts      or        contract        renewals       the

                 entity’s    obligation         to     adopt    and   comply

                 with   Tutwiler’s        policies       and     procedures

                 governing      sexual          abuse          and    sexual

                 harassment.

          x.     ADOC     and/or         Tutwiler         policies       and

                 procedures    require          that    contractors      and

                 volunteers who have contact with inmates

                 but are not directly supervised by ADOC or

                 Tutwiler employees comply with Tutwiler’s

                 sexual      abuse        and        sexual      harassment

                 policies and procedures.

D. Training

     ADOC and Tutwiler shall ensure that all staff have

the adequate knowledge, skill, and ability to prevent,

detect,    and    respond      to    sexual          abuse      and   sexual

harassment at Tutwiler, and to manage, interact, and

communicate      appropriately           with    women        inmates    and


                                    44
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 45 of 127



lesbian,        gay,    bisexual,        transgender,        and   gender

nonconforming inmates.           Accordingly:

    1. Staff Training:           ADOC and Tutwiler shall train

       all staff who may have contact with inmates on

       the following:

           i.     Its zero-tolerance policy for sexual abuse

                  and sexual harassment;

           ii. How to fulfill its responsibilities under

                  its   sexual   abuse        and   sexual    harassment

                  prevention,       detection,        reporting,      and

                  response policies and procedures;

           iii. Inmates’     right       to   be    free   from    sexual

                  abuse and sexual harassment;

           iv. The right of inmates and employees to be

                  free from retaliation for reporting sexual

                  abuse and sexual harassment;

           v.     The dynamics of sexual abuse and sexual

                  harassment in confinement;

           vi. The common reactions of sexual abuse and

                  sexual harassment victims;


                                    45
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 46 of 127



        vii. How    to    detect       and     respond    to        signs    of

             threatened and actual sexual abuse;

        viii. How to respond to sexual abuse and sexual

               harassment, including:

             1. How       to      respond         effectively               and

                professionally           to     victims        of     sexual

                abuse and sexual harassment;

             2. How and to whom to report allegations or

                suspicions        of    sexual     abuse       and    sexual

                harassment, including how to comply with

                relevant        laws      related        to     mandatory

                reporting        of    sexual     abuse        to    outside

                authorities; and

             3. How      to    preserve       physical     evidence         of

                sexual        abuse    (this     provision          does    not

                apply to volunteers).

        ix. How     to    avoid       inappropriate       relationships

             with inmates;

        x.   Gender-responsive               principles,        including

             those       applicable       to     the     use    of     force


                                  46
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 47 of 127



              against      women     inmates      (the     provision

              regarding use of force does not apply to

              volunteers); and

        xi. How       to     communicate        effectively         and

              professionally         with    inmates,      including

              lesbian,       gay,     bisexual,        transgender,

              intersex,        and      gender        nonconforming

              inmates, including the use of appropriate

              name and pronoun for an inmate’s gender

              presentation and identity.              This training

              shall      emphasize       that     verbal       abuse-

              including     name     calling    and    the    use      of

              racially insensitive or offensive, profane

              or vulgar language-will not be tolerated.

  2. Within    six    months    of   the    Effective     Date,     all

     staff shall have received training as set out in

     Section III.D.1.

  3. ADOC and Tutwiler shall provide annual refresher

     training to all staff to ensure that they know

     the current sexual abuse and sexual harassment


                                47
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 48 of 127



       policies      and    procedures.          If    staff      cannot

       successfully        demonstrate       knowledge      of     these

       policies      and   procedures,       they     shall      not     be

       permitted to have any contact with inmates until

       such time as they can demonstrate proficiency.

       ADOC    and     Tutwiler     shall    have     and     implement

       policies and procedures setting forth the levels

       of discipline, up to and including termination,

       for any staff member who cannot perform his or

       her job duties due to a failure to demonstrate

       proficiency in these policies and procedures.

    4. The Monitor will work with the ADOC and Tutwiler

       in     drafting     new     training      materials        and/or

       revising current training materials set out in

       Section III.D.1 and 3.

    5. ADOC    shall    certify    and   document      to   Tutwiler’s

       PREA Compliance Manager, the Department-wide PREA

       Coordinator, the Monitor, and DOJ, that all staff

       have been trained.

E. Inmate Education


                                  48
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 49 of 127



     ADOC      and     Tutwiler        shall      effectively        and

meaningfully communicate to all inmates their right to

be free from sexual abuse and sexual harassment and the

protections in place at Tutwiler to ensure that such

abuse and harassment does not occur or, if it does

occur, is reported so it can be responded to promptly,

appropriately, and without retaliation.              Accordingly:

    1. ADOC and Tutwiler shall ensure that, during the

       intake process, all inmates receive information

       regarding the following:

          i.   ADOC’s      zero-tolerance         policy     regarding

               sexual abuse and harassment;

          ii. Definitions        of    sexual    abuse     and   sexual

               harassment;

          iii. The right to be free from sexual abuse and

               sexual harassment and from retaliation for

               reporting such incidents;

          iv. The right to be free from verbal abuse,

               including          name         calling,       racially




                                  49
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 50 of 127



             insensitive       or       offensive     language,    and

             profane or vulgar language;

        v.   How to report incidents or suspicions of

             sexual abuse and harassment, including the

             availability       of      non-inmate     interpreters;

             and

        vi. The      process       of     accessing    medical     and

             mental health care.

  2. Within 14 days of intake, ADOC and Tutwiler shall

     provide     comprehensive          orientation    education       to

     inmates either conducted in-person or through a

     video     presented      by     an    in-person     facilitator

     regarding their rights to be free from sexual

     abuse and sexual harassment and to be free from

     retaliation      for     reporting      such    incidents,    and

     regarding      their     policies       and     procedures    for

     responding to such incidents.

  3. Current       Tutwiler     inmates       will     receive     the

     information and education described in III.E.1

     and 2 within three months of the Effective Date.


                                50
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 51 of 127



  4. ADOC     and      Tutwiler       shall           ensure     that     the

     individual         conducting          or        facilitating        the

     comprehensive inmate educational orientation is

     trained     on     Tutwiler      and        ADOC’s    policies       and

     procedures       related    to    sexual         abuse    and     sexual

     harassment, the PREA standards, and the terms of

     this Agreement.

  5. The    individual     conducting            or    facilitating       the

     comprehensive inmate orientation education shall

     remain in the room during the entire orientation

     and shall monitor the inmates for reactions to

     and understanding of the information. A mental

     health practitioner will serve as an advisor to

     the    orientation        process      and       services    will     be

     available        during    the    orientation             process     if

     indicated.

  6. Consistent with current policy, ADOC and Tutwiler

     shall    ensure     that    the     information           outlined    in

     III.E.1      and     III.E.2      is        conveyed        and     made

     available in formats accessible to all inmates,


                                 51
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 52 of 127



        including      those       who    are     limited       English

        proficient, deaf, visually impaired, or otherwise

        disabled as well as to inmates who have limited

        reading skills.

      7. ADOC and Tutwiler shall provide the Monitor and

        DOJ   for   their    review      consistent     with    Section

        III.A.6. any materials or curriculum utilized to

        satisfy the requirements of III.E.1 and III.E.2.

      8. ADOC and Tutwiler shall maintain documentation of

        inmate participation in the education sessions

        required by III.E.2.

F. Gender-Responsive Classification

      Consistent with constitutional standards, ADOC and

Tutwiler shall develop and implement a classification

process including custody classification, and risk/need

assessment, and screening for risk of vulnerability or

perpetration of sexual abuse or sexual harassment and

use   that    information     to   inform    housing,     bed,    work,

education, and program assignments with the goal of

maximizing safety.       Accordingly:


                                   52
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 53 of 127




  1. Within two months of the Effective Date, ADOC

     shall convene a working group to evaluate methods

     to decrease or eliminate Tutwiler’s use of Dorm A

     for a period of time that exceeds 48 hours while

     screenings         are         completed,            including         an

     examination of the necessity of PAP test and/or

     other    medical,        mental      health,        or   intellectual

     test    results        prior    to    classification          and     any

     failures      to       provide       adequate        continuity        in

     medical     and     mental          health     care      to    Dorm     A

     residents.

  2. Within six months of convening of the working

     group, ADOC and Tutwiler shall retain an expert

     in       gender          responsive            assessment             and

     classification. The retained expert shall develop

     and     submit     for    review       to     the    Workgroup        and

     Monitor     for    a     summary      of     recommendations          and

     proposed     deliverables           that     outline     a    plan    for

     implementation and validation of an objective and


                                    53
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 54 of 127



     internal classification system specific to the

     women    inmates     at    Tutwiler.       The    classification

     system      shall     incorporate          gender       responsive

     principles and address the needs of women inmates

     at    Tutwiler,     including       housing      safety,      mental

     health (depression/anxiety/ psychosis), abuse and

     trauma,         family           conflict,             relationship

     dysfunction,      and     parental    stress.           The   system

     will also focus on strength or resiliency factors

     including educational assets, family support, and

     self-efficacy.            The    proposed       plan    shall   also

     examine the designation of “restricted status”

     for     inmates     at     Tutwiler        to     determine      the

     appropriateness of the designation as it relates

     to    classification,           housing,    programming,         and

     community custody.              The proposed plan shall be

     based on expert review and address adjustments to

     the      classification           system,        adequate       data

     collection and analysis, and appropriate ongoing

     testing for effectiveness.


                                 54
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 55 of 127



    3. The     approved    plan     for    implementation       of    the

       classification       system      shall   be   managed     by      an

       implementation workgroup and completed within two

       years of the approval of the plan.

    4. Based on the implemented assessment processes,

       the      system      shall       provide      programs        that

       incorporate        gender    responsive       principles       and

       address the needs of women inmates at Tutwiler,

       including those addressing sexual abuse, sexual

       harassment, and trauma; domestic violence; dating

       violence; and medical and mental health care.

G. Risk Assessment

    1. ADOC and Tutwiler shall continue to utilize a

       risk assessment instrument to screen for risk of

       victimization       and     abusiveness.        Such     process

       shall include the following:

          i.    Ensure      that        Tutwiler     initiates        and

                documents communication with the facility

                from which the inmate is received to learn

                about      their     incarceration,         adjustment


                                   55
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 56 of 127



             issues,      disciplinary       history,           and    any

             other    factors     relevant     to    identification

             of      potential       predators           and     victims

             including pregnancy status.                 If an inmate

             arrives at Tutwiler from another custodial

             institution, including a county jail, work

             release placement, or half-way house - the

             transferring facility shall be notified if

             it is suspected, as a result of either the

             inmate’s       self-reporting          or     after       the

             initial     medical     evaluation,          that    sexual

             abuse in a custodial setting could have

             caused the pregnancy.

        ii. All inmates shall be assessed during an

             intake      screening      within       72        hours   of

             arrival.     The    screening     shall       include     an

             assessment of an inmate’s risk of being

             sexually      abused      by   other        inmates,      or

             sexually abusive toward other inmates;




                                56
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 57 of 127



        iii. The intake screening shall include, at a

             minimum, the following criteria to assess

             inmates for risk of sexual victimization:

             1. Whether      the      inmate     has       a    mental,

                physical, or developmental disability;

             2. The age of the inmate;

             3. The physical build of the inmate;

             4. Whether the inmate has previously been

                incarcerated;

             5. Whether      the     inmate    has    a    history     of

                substance           abuse       and/or          alcohol

                dependency;

             6. Whether the inmate has a history of self

                injurious          behavior     and/or         suicidal

                ideation;

             7. Whether the inmate’s criminal history is

                exclusively nonviolent;

             8. Whether the inmate has prior convictions

                for    sex   offenses       against       an   adult   or

                child;


                                57
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 58 of 127



             9. Whether the inmate is or is perceived to

                 be gay, lesbian, bisexual, transgender,

                 intersex, or gender nonconforming;

             10. Whether       the         inmate       has     previously

                   experienced sexual victimization;

             11. The       inmate’s             own      perception      of

                   vulnerability; and

             12. Any     other        factors          that     have    been

                   selected for Tutwiler.

        iv. In     assessing     inmates          for    risk    of    being

             sexually      abusive,         the       initial    screening

             shall consider prior acts of sexual abuse,

             prior     convictions          for       violent    offenses,

             and      history         of        prior      institutional

             violence and/or sexual abuse;

        v.   Within a set time period, not to exceed 30

             days      from      the        inmate’s          arrival     at

             Tutwiler,        Tutwiler          shall      reassess     the

             inmate’s         risk         of         victimization      or

             abusiveness based upon a trauma screening


                                 58
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 59 of 127



             and      assessment        developed     under    Section

             III.     F.2    and       any   additional,      relevant

             information received by Tutwiler since the

             intake screening;

        vi. An inmate’s risk level shall be reassessed

             when warranted due to a referral, request,

             incident of sexual abuse, or receipt of

             additional information that bears on the

             inmate’s risk of sexual victimization or

             abusiveness;

        vii. If the screening indicates that an inmate

             has experienced prior sexual victimization

             or    perpetrated          sexual   abuse,    whether     it

             occurred in an institutional setting or in

             the community, staff shall ensure that the

             inmate     is       offered     a   follow-up     with     a

             medical        or    mental     health       practitioner

             within 14 days of the intake screening;

        viii. ADOC and Tutwiler shall use information

               from    the       risk     screening    to     make     an


                                  59
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 60 of 127



               individualized                      and               safety-based

               determination of prisoners’ housing, bed,

               work, education, and program assignments;

               and

        ix.    Placement and programming assignments for

               inmates            at        high         risk        of       sexual

               victimization                shall    be         reassessed        at

               least        twice       each       year        to        review   any

               threats           to    safety       experienced             by    the

               inmate and such inmate’s own views with

               respect to her own safety shall be given

               serious consideration.

  2. Inmates     at       high    risk       for    sexual          victimization

     shall     not    be     placed         in   involuntary              segregated

     housing due to their high risk of victimization

     unless          an      assessment             of         all         available

     alternatives has been made, and a determination

     has      been        made    that       there        is        no     available

     alternative           means       of    separation              from     likely

     abusers.         Such an assessment and determination


                                       60
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 61 of 127



       shall     be    documented,          explaining      the    basis       for

       Tutwiler’s concern for the inmate’s safety and

       the reason why no alternative means of separation

       can be arranged.          A review of such determination

       must be afforded each inmate at least every 30

       days to determine whether there is a continuing

       need for separation from the general population.

    3. Inmates        placed    in     segregated        housing        due     to

       potential        victimization         shall,     to       the    extent

       possible,         have        full      access       to      programs,

       privileges, education, and work opportunities as

       inmates in general population housing.

H. Inmates’ Right to Privacy

     ADOC      and    Tutwiler       shall     prevent      officers          from

unnecessarily         viewing    inmates           who   are       naked       or

performing bodily functions.                Accordingly:

    1. Cross-Gender Searches

          i.    ADOC and Tutwiler shall comply with its

                policy     regarding           cross-gender         pat        and

                strip     searches           and    shall     ensure          that


                                      61
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 62 of 127



             appropriate       modifications       to    the    policy

             are made and implemented to include, at a

             minimum, the items specified in III.H.1.ii

             to III.H.1.v below.

        ii. Tutwiler       will      continue    to     not    conduct

             cross-gender strip searches or visual body

             cavity searches (meaning a search of the

             anal or genital opening) except in exigent

             circumstances or when performed by medical

             practitioners.

        iii. Tutwiler will continue to prohibit cross-

             gender pat-down searches of women inmates,

             absent      exigent      circumstances.          Inmates’

             access to regularly available programming

             or   other    out-of-cell      opportunities        shall

             not be restricted in order to comply with

             this provision.

        iv. Tutwiler      shall      document   all     cross-gender

             strip    searches,       cross-gender      visual    body

             cavity searches, and cross-gender pat-down


                                62
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 63 of 127



             searches      of      women        inmates,      and     shall

             document      the     exigent       circumstances           that

             warranted the search.                To the extent any

             such     searches          were    conducted,      Tutwiler

             shall    provide       this       documentation        to    the

             Monitor and DOJ on a quarterly basis.

        v.   ADOC    and     Tutwiler          shall   train    security

             staff in how to conduct cross-gender pat-

             down searches, and searches of transgender

             and intersex inmates, when required, in a

             professional and respectful manner, and in

             the     least       intrusive         manner      possible,

             consistent with security needs.

  2. Cross-Gender Viewing

        i.   ADOC and Tutwiler shall develop, submit to

             the Monitor and DOJ for review consistent

             with     Section           III.A.6.,       and    implement

             policies        and        procedures       that       enable

             inmates to perform bodily functions –such

             as     showering,          bathing,       and    using       the


                                   63
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 64 of 127



             toilet–       and     change        clothing        without

             nonmedical       staff      of   the     opposite     gender

             viewing       their        breasts,       buttocks,         or

             genitalia, except in exigent circumstances

             or    when    such    viewing       is    incidental        to

             routine cell checks.                Such policies and

             procedures       shall      require       staff     of     the

             opposite gender to announce their presence

             before entering an inmate housing unit and

             again before entering the shower or toilet

             areas.

        ii. ADOC and Tutwiler shall develop, submit to

             the Monitor and DOJ for review consistent

             with     Section          III.A.6.,       and     implement

             policies      and     procedures          regarding        the

             method of conducting inmate counts.                       This

             policy     and   procedure        shall     limit     inmate

             movement     during        inmate   counts      and      shall

             prohibit the practice of conducting inmate




                                  64
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 65 of 127



             counts while inmates are likely to be in

             the shower and toilet areas.

  3. ADOC and Tutwiler shall continue to implement its

     plan to address the architectural features that

     contribute to a lack of privacy for inmates while

     showering or using the toilet.

  4. ADOC and Tutwiler shall not search or physically

     examine a transgender or intersex inmate for the

     sole purpose of determining the inmate’s genital

     status.        If    the     inmate’s        genital   status     is

     unknown,       it         may        be     determined        during

     conversations with the inmate or by a qualified

     medical      practitioner              reviewing    the   medical

     records     or,      if    necessary,         by   learning     that

     information         during       the      intake   physical     exam

     conducted in private by a medical practitioner.

  5. Transgender and intersex inmates shall be given

     the opportunity to shower separately from other

     inmates.




                                     65
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 66 of 127



I. Reporting        Allegations      of    Sexual      Abuse     and    Sexual

  Harassment

     In order to adequately identify and respond to all

instances      of    sexual       abuse    and    sexual    harassment      at

Tutwiler, ADOC and Tutwiler shall ensure that inmates,

staff,     and       third-parties         have     multiple          unimpeded

methods to report incidents of sexual abuse and sexual

harassment free from retaliation.                  Accordingly:

    1. ADOC and Tutwiler shall continue to comply with

         its   policy       on    reporting      allegations      of    sexual

         abuse and sexual harassment. Any modification of

         that policy shall be submitted to DOJ and the

         Monitor      for        review    consistent          with    Section

         III.A.6.           ADOC     and    Tutwiler       shall       provide

         multiple internal methods, including a grievance

         process and at least one confidential method, for

         inmates      to     report       sexual       abuse     and    sexual

         harassment, retaliation by other inmates or staff

         for reporting sexual abuse and sexual harassment,

         and        staff         neglect         or       violation        of


                                      66
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 67 of 127



     responsibilities        that      may    have       contributed       to

     such incidents.         The inmate reporting system must

     include:

        i.   Provisions        for     accepting          reports         made

             verbally,       in    writing,         anonymously,          and

             from      third       parties          including         other

             inmates, Tutwiler staff, and the inmate’s

             friends     and      family,     advocates         or    legal

             representation.           In    the    case    of    reports

             made      verbally,        staff           shall     promptly

             document those reports in writing; and

        ii. Information on how to report sexual abuse

             or     sexual     harassment          on    behalf      of    an

             inmate shall be distributed publicly.

  2. ADOC and Tutwiler shall also provide at least one

     way for inmates to report abuse or harassment to

     a public or private entity or office that is not

     part of the agency, and that is able to receive

     and immediately forward inmate reports of sexual

     abuse and sexual harassment to agency officials,


                                  67
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 68 of 127



     allowing       the     inmate       to    remain        anonymous        upon

     request.       The preferred method provided should be

     through a toll-free number, or other method as

     agreed.

  3. ADOC    and     Tutwiler       shall       provide       a    method      for

     staff to confidentially report sexual abuse and

     sexual harassment of inmates.

  4. Third        parties    shall        be        permitted      to    assist

     inmates       in   filing      requests          for    administrative

     remedies relating to allegations of sexual abuse

     and     sexual       harassment,           and       shall      also       be

     permitted       to     file    such       requests       on   behalf       of

     inmates.

  5. All    third       party      reports      of     sexual      abuse       and

     sexual harassment shall be forwarded immediately

     to     the    Departmental          PREA        Coordinator        and    be

     investigated         and      processed         in   accordance          with

     ADOC     policy.       As     part        of     this    process,         the

     Departmental           PREA      Coordinator             will       inform




                                    68
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 69 of 127



     Tutwiler’s PREA Compliance Manager of all third

     party reports received.

  6. Grievances

        i.   ADOC     and     Tutwiler          shall     continue       to

             develop and submit policies and procedures

             for    an    inmate       Grievance        System    to   the

             Monitor and DOJ for review within three

             months of the effective date and, within

             four     months       of     the      effective          date,

             implement      the        inmate    Grievance        System.

             This        policy        shall     clearly         prohibit

             retaliatory       practices         by     staff     against

             inmates who file a grievance and should

             include        the        requirements        listed       in

             III.I.6.ii-ix below.

        ii. ADOC and Tutwiler shall ensure that all

             inmates        receive        orientation           on    the

             Grievance      System      during     orientation.        The

             ADOC will offer quarterly education on the

             Grievance System throughout the first year


                                  69
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 70 of 127



             of      implementation.             Inmates        will      be

             required to attend at least once.

        iii. During the first year of implementation,

             ADOC and Tutwiler shall ensure that all

             staff    receive       training       on    the     Grievance

             System     upon       implementation          and     through

             annual in-service training.

        iv. ADOC      and     Tutwiler          shall     ensure        that

             grievance       forms        are    available        on     all

             units.         ADOC    and       Tutwiler    shall    assist

             inmates         who          are     limited          English

             proficient,       visually          impaired,        have    a

             mental     health          impairment,      are     otherwise

             disabled, or who have limited reading or

             writing skills in accessing the grievance

             system.

        v.   ADOC    and    Tutwiler          shall    ensure     that    an

             inmate, who alleges sexual abuse or sexual

             harassment,           or     any     other        verbal     or

             physical       abuse        by   staff,     may     submit   a


                                   70
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 71 of 127



             complaint without submitting it to a staff

             member      who        is       the     subject        of       the

             complaint,         and         such   complaint        is       not

             referred      to      a     staff     member     who       is   the

             subject of the complaint.

        vi. ADOC     and      Tutwiler        shall     not   require         an

             inmate      to        use      any    informal     grievance

             process,         or       to    otherwise        attempt        to

             resolve with staff, an alleged incident of

             sexual     abuse,         sexual      harassment,          or   any

             other verbal or physical abuse by staff.

        vii. ADOC    and      Tutwiler         shall    issue       a    final

             decision on the merits of any portion of a

             complaint        alleging         sexual    abuse,         sexual

             harassment,            or      any    other      verbal         or

             physical abuse by staff, within 30 days of

             the initial filing of the complaint, with

             the option of an extension of up to an

             additional            30        days,      approved             and

             documented by the facility designee, with


                                    71
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 72 of 127



              written notice of status update provided

              to the inmate.

        viii. ADOC and Tutwiler shall develop, submit

               to    the    Monitor          and     DOJ     for     review

               consistent        with     Section       III.A.6.,         and

               implement policies and procedures for the

               filing of an emergency grievance where an

               inmate is subject to a substantial risk

               of imminent sexual or physical abuse.

        ix.    After    receiving         an       emergency       oral    or

               written complaint alleging an inmate is

               subject to a substantial risk of imminent

               sexual      or     physical          abuse,     ADOC       and

               Tutwiler     shall       immediately          forward      the

               grievance        (or    any   portion       that     alleges

               the substantial risk of imminent sexual

               or physical abuse) to a level of review

               at which immediate corrective action may

               be    taken,       shall        provide       an     initial

               response within 48 hours, and shall issue


                                  72
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 73 of 127



               a   final    decision        within   five    calendar

               days.       The   initial      response      and   final

               agency decision shall document the ADOC’s

               and/or    Tutwiler’s         determination     whether

               the    inmate     is    in    substantial     risk      of

               imminent sexual or physical abuse and the

               action taken in response to the emergency

               grievance.

  7. ADOC and Tutwiler shall require all employees to

     report immediately:

        i.   Any     knowledge,       suspicion,     or   information

             regarding an incident or alleged incident

             of sexual abuse or sexual harassment that

             occurred       in        Tutwiler,      in     transport

             vehicles,      or   in    any    off-site     facilities

             under the control and supervision of ADOC

             or Tutwiler;

        ii. Retaliation against inmates or staff who

             reported such an incident; and




                                 73
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 74 of 127



        iii. Any      staff      neglect         or    violation         of

              responsibilities that may have contributed

              to an incident or retaliation.

  8. Apart from reporting to designated supervisors or

     officials, staff shall not reveal any information

     related to a sexual abuse or sexual harassment

     report     to    anyone     other      than      to     the     extent

     necessary to make treatment, investigation, and

     other security and management decisions.

  9. ADOC and Tutwiler shall report all allegations of

     sexual    abuse     and    sexual      harassment,          including

     third    party      reports,        anonymous         reports,     and

     inmate     grievances,         to     Tutwiler’s           or   ADOC’s

     designated investigator.

  10. Protecting Inmates and Staff from Retaliation:

        i.    Consistent       with      ADOC    policies,       ADOC   and

              Tutwiler      shall     protect      all      inmates     and

              staff    who     report      allegations          of   sexual

              abuse    or    sexual      harassment        or    cooperate

              with    sexual     abuse      or    sexual        harassment


                                 74
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 75 of 127



             investigations           from    retaliation               by    other

             inmates       or    staff,       and        shall          designate

             Tutwiler’s         PREA    Compliance            Manager           with

             monitoring         allegations              of        retaliation

             concerning         inmates.                 Allegations              of

             retaliation         against           employees            will      be

             investigated        and    processed             in    accordance

             with ADOC personnel policy.

        ii. ADOC     and    Tutwiler         shall       employ          multiple

             protection         measures,              such        as     housing

             changes or transfers for inmate victims or

             abusers,       removal          of        alleged          staff     or

             inmate abusers from contact with victims,

             and emotional support services for inmates

             or     staff       who      fear           retaliation              for

             reporting          sexual            abuse          or          sexual

             harassment          or     for            cooperating              with

             investigations.

        iii. ADOC and Tutwiler shall ensure that any

             Tutwiler      staff       who        is    alleged          to     have


                                  75
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 76 of 127



             engaged        in     sexual          abuse        or    sexual

             harassment       are      immediately         removed       from

             positions      of     inmate     contact        at      Tutwiler

             until an investigation is concluded.

        iv. ADOC      and        Tutwiler         shall     monitor       all

             inmates and staff who report sexual abuse

             or sexual harassment and inmates who have

             been      reported         to        have     suffered        or

             cooperated       with      sexual       abuse       or   sexual

             harassment investigations from retaliation

             by other inmates or staff for at least 90

             days following a report of sexual abuse or

             sexual     harassment,          to    see     if    there    are

             changes        that       may         suggest           possible

             retaliation by inmates or staff, including

             inmate     disciplinary          reports,          housing    or

             program changes, and negative performance

             reviews     or      reassignments,           and    shall    act

             promptly to remedy any such retaliation.

             ADOC     and     Tutwiler       shall        continue       such


                                  76
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 77 of 127



                  monitoring beyond 90 days if the initial

                  monitoring        indicates    a    continuing       need.

                  In the case of inmates, such monitoring

                  shall also include periodic status checks.

             v.   If   any      other    individual       who    cooperates

                  with an investigation expresses a fear of

                  retaliation, ADOC and Tutwiler shall take

                  appropriate        measures        to     protect     that

                  individual against retaliation.

J. Official Response to an Allegation of Sexual Abuse

  and Sexual Harassment

      ADOC and Tutwiler shall ensure that all alleged

victims      of   sexual     abuse      and   sexual      harassment     are

offered timely, unimpeded access to medical treatment

and   crisis      intervention       services    as       appropriate    and

that staff appropriately respond to and counsel the

alleged victim while taking steps to preserve evidence.

Accordingly:

      1. When ADOC or Tutwiler learns that an inmate may

        be    subject      to   a   substantial       risk      of   imminent


                                        77
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 78 of 127



     sexual       abuse,       ADOC    or   Tutwiler          shall     take

     immediate action to protect the inmate.

  2. ADOC and Tutwiler shall continue to comply with

     ADOC     policy       and   Tutwiler        Standard       Operating

     Procedures          to    coordinate        actions       taken     in

     response to an allegation of sexual abuse, among

     first staff responders, medical and mental health

     practitioners,            investigators,           and      Tutwiler

     leadership, including time frames and lists of

     whom        staff     should      report     to     in      specific

     situations          and      guidelines           regarding        the

     collection of physical evidence.

  3. ADOC and Tutwiler shall respond to reports of

     sexual abuse and sexual harassment or threats of

     sexual abuse or sexual harassment without regard

     to     an     inmate’s      known      or    perceived           sexual

     orientation or gender identity.

  4. The    written       institutional         plan    shall     include

     procedures that address how staff respond upon

     learning       of   an    allegation    that       an    inmate     was


                                  78
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 79 of 127



     sexually abused.        The first security staff member

     to respond to the report shall be required to:

        i.   Separate the alleged victim and abuser;

        ii. Preserve and protect any crime scene until

             appropriate steps can be taken to collect

             any evidence; and

        iii. Request that the alleged victim not take

             any    actions     that   could    destroy     physical

             evidence,        including,        as     appropriate,

             washing, brushing teeth, changing clothes,

             urinating, defecating, smoking, drinking,

             or eating if the abuse occurred within a

             time    period     that    still    allows     for    the

             collection of physical evidence.

  5. If the first staff responder is not a security

     staff member, the responder shall be required to

     request the alleged victim not take any actions

     that could destroy physical evidence, and then

     notify security staff.




                                79
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 80 of 127



  6. ADOC and Tutwiler shall not place in protective

     custody an inmate who is alleged to have suffered

     sexual abuse or sexual harassment solely for the

     purpose     of     protecting       that    inmate,        unless    a

     determination, documented in writing and reviewed

     by the PREA Compliance Manager or the warden’s

     designee       within    24   hours,      has    been     made     that

     there     is     no   available         alternative        means     of

     separation from likely abusers.

  7. To the extent they do not already exist, ADOC and

     Tutwiler shall develop, submit to the Monitor and

     DOJ for review consistent with Section III.A.6.,

     and implement policies and procedures to provide

     access to medical and mental health services to

     women identified as potential or actual victims

     of    sexual     abuse    and      sexual       harassment,        that

     occurred       either     at       Tutwiler        or     elsewhere,

     including the following:

          i.   Inmate      victims      of     sexual        abuse    shall

               receive       timely,         unimpeded        access      to


                                   80
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 81 of 127



             emergency medical and mental health care

             and     treatment        and    crisis       intervention

             services, the nature and scope of which

             are     determined       by     medical      and      mental

             health     practitioners        according       to     their

             professional judgment;

        ii. If no qualified medical or mental health

             practitioners are on duty at the time a

             report of recent abuse is made, security

             staff     and    first     responders         shall     take

             preliminary       steps    to    protect      the     victim

             and      shall       immediately            notify       the

             appropriate       medical       and      mental       health

             practitioners;

        iii. Tutwiler shall offer further medical and

             mental       health        evaluation          and,       as

             appropriate, treatment, to all inmates who

             have     been    victimized       by        sexual     abuse

             and/or     sexual    harassment        in    any     prison,

             jail, lockup, or juvenile facility;


                                 81
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 82 of 127



        iv. The      evaluation          and     treatment        of     such

             victims      shall         include,     as     appropriate,

             follow-up services, treatment plans, and,

             when    necessary,          referrals        for   continued

             care     following          their     transfer       to,      or

             placement in, other facilities, or their

             release from custody;

        v.   ADOC and Tutwiler shall ensure appropriate

             mental     health          counseling        and   emotional

             support     services         are    made      available      to

             victims      of       sexual        abuse      and        sexual

             harassment, provided by a qualified staff

             member      or    a        victim     advocate       from      a

             community-based organization that provides

             services to sexual abuse victims;

        vi. ADOC and Tutwiler shall attempt to enter

             into       and         maintain          memoranda            of

             understanding          or    other      agreements         with

             community service providers that are able

             to     provide        inmates        with      confidential


                                   82
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 83 of 127



              emotional      support      services        related        to

              sexual abuse or sexual harassment.                       ADOC

              and   Tutwiler      shall      maintain      copies       of

              agreements or documentation of attempts.

        vii. Inmate victims of sexual abuse or sexual

              harassment      while      incarcerated          shall    be

              offered     timely      information          about       and

              timely access to emergency contraception,

              pregnancy     tests,     and    tests      for    sexually

              transmitted infections prophylaxis, where

              medically appropriate;

        viii. If inmate pregnancy results from sexual

               abuse    while    incarcerated,           such    victims

               shall    receive      timely        and   comprehensive

               information       about       and     access     to     all

               lawful          pregnancy-related                 medical

               services; and

        ix.    All treatment services in this subsection

               shall be provided to the victim without

               financial cost and regardless of whether


                                83
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 84 of 127



                  the victim names the abuser or cooperates

                  with any investigation arising out of the

                  incident.

K. Referrals and Investigations

       ADOC   and     Tutwiler           shall   ensure           that   all

allegations of sexual abuse and sexual harassment are

promptly, thoroughly, and objectively investigated and

appropriately      referred    for       prosecutorial       review,     and

that    alleged   victims     are    advised     of    the    outcome     of

their allegations.          Accordingly:

       1. ADOC investigators shall continue to investigate

         allegations of sexual abuse or sexual harassment

         consistent    with     their       authority        as    criminal

         investigators and consistent with ADOC policy and

         Alabama law. Completed investigations of sexual

         abuse and sexual harassment will be referred to

         local prosecutors as appropriate.

       2. When ADOC conducts its own investigations into

         allegations of sexual abuse or sexual harassment,

         it   shall    do     so     promptly,        thoroughly,        and


                                    84
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 85 of 127



     objectively for all allegations, including third

     party     and        anonymous      reports.        Administrative

     investigations shall be completed regardless of

     the results of any criminal investigations and

     regardless of the subject’s continued employment

     by ADOC.

  3. The     use     of     pre-hearing        segregation       shall     be

     limited to inmates whose continuing behavior is a

     threat to facility safety, or who will not stop

     the     prohibited           behavior.         Such     pre-hearing

     segregation shall not be used for more than 72

     hours, at which time an inmate must be afforded a

     disciplinary           hearing,      or    provided     a     written

     explanation of why the hearing is postponed and

     when the hearing will be re-scheduled.

  4. ADOC and Tutwiler shall develop, submit to the

     Monitor       and      DOJ    for    review     consistent          with

     Section III.A.6., and implement guidelines for

     the     immediate       initiation        of   an     investigation

     and/or review upon learning of an allegation of


                                    85
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 86 of 127



     sexual abuse or sexual harassment and develop a

     process    for     monitoring         those    guidelines.     The

     guidelines shall also ensure that investigations

     that include any allegations of sexual abuse or

     sexual harassment are properly labeled as such.

  5. Where     sexual     abuse       or    sexual     harassment      is

     alleged, ADOC shall use investigators who have

     received special training in institutional sexual

     abuse     and      sexual        harassment       investigation.

     Specialized training shall include techniques for

     interviewing sexual abuse victims, proper use of

     Miranda     and     Garrity       warnings,       sexual     abuse

     evidence collection in confinement settings, and

     the     criteria        and       evidence        required        to

     substantiate a case for administrative action or

     prosecution        referral.            ADOC    shall   maintain

     documentation       that      agency      investigators        have

     completed the required specialized training in

     conducting       sexual     abuse       investigations.        The

     Department-wide PREA Coordinator and Tutwiler's


                                 86
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 87 of 127



     PREA     Compliance         Manager      shall      not     serve    as

     investigators for sexual abuse investigations.

  6. Investigators shall gather and preserve direct

     and     circumstantial            evidence,         including        any

     available      physical       and     DNA    evidence        and    any

     available      electronic           monitoring        data;        shall

     interview          alleged            victims,              suspected

     perpetrators,         and    witnesses;       and     shall    review

     prior complaints and reports of sexual abuse and

     sexual      harassment         involving            the     suspected

     perpetrator.

  7. The credibility of an alleged victim, suspect, or

     witness shall be assessed on an individual basis

     and    shall    not    be     determined       by     the    person’s

     status as inmate or staff.                ADOC or Tutwiler are

     prohibited       from        offering        or       administering

     polygraph      examinations         or      other     truth-telling

     devices to an inmate who alleges sexual abuse or

     sexual harassment.




                                  87
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 88 of 127



  8. ADOC shall issue a written investigative report

     within 30 days after the conclusion of a sexual

     abuse    or    sexual    harassment          investigation      that

     indicates           whether         the        allegation         is

     substantiated,         unsubstantiated,            or    unfounded.

     The investigator may request in writing, approved

     by the facility designee, an extension for cause

     that identifies the remaining actions necessary

     to complete the investigation.                 In no case shall

     the investigation be unfounded solely due to the

     expiration of the 30 days.                    The investigative

     report     shall      include      an     effort    to   determine

     whether       staff     actions         or   failures      to   act

     contributed to the abuse, a description of the

     physical and testimonial evidence, the reasoning

     behind credibility assessments, and investigative

     facts and findings.

  9. ADOC shall work with the Monitor on ensuring that

     an investigative summary sheet that provides an

     overview       of      the        current      status      of     an


                                  88
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 89 of 127



     investigation        is        included.          The     summary

     information should include, among other things,

     basic information such as staff name(s), prisoner

     names(s), location of incident, and the time of

     day.

  10. The    departure     of       the    alleged    perpetrator      or

      victim from the employment or control of ADOC

      or    Tutwiler      shall      not    provide    a     basis   for

      terminating an investigation.

  11. When      outside      agencies        investigate       alleged

      incidents of sexual abuse, ADOC and Tutwiler

      shall cooperate with outside investigators and

      shall     endeavor       to      remain   informed,      to    the

      extent appropriate, about the progress of the

      investigation.

  12. Following      an    investigation        into    an    inmate’s

      allegation that she suffered sexual abuse or

      sexual harassment in any ADOC facility or while

      within the physical custody and control of the

      ADOC, ADOC and Tutwiler shall inform the inmate


                                  89
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 90 of 127



      as     to     whether        the       allegation        has      been

      determined              to             be            substantiated,

      unsubstantiated, or unfounded.

  13. If     ADOC    or     Tutwiler         did     not     conduct     the

      investigation,         it    shall       request      the     relevant

      information         from    the    investigative         agency    in

      order to inform the inmate.

  14. Following an inmate’s allegation that a staff

      member      has     committed       sexual     abuse     or     sexual

      harassment          against        the       inmate,     ADOC     and

      Tutwiler shall subsequently inform the inmate

      whenever:

        i.   The    staff        member      is     no     longer     posted

             within the inmate’s unit;

        ii. The staff member is no longer employed at

             Tutwiler; or

        iii. ADOC and/or Tutwiler learn that the staff

             member has been indicted or convicted on a

             charge       related       to     sexual      abuse      within

             Tutwiler.


                                   90
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 91 of 127



  15. All       such            notifications         or         attempted

      notifications shall be documented.

  16. A review team, including upper-level management

      officials       at    Tutwiler,       with    input       from     line

      supervisors,          investigators,          and    medical         and

      mental health practitioners, shall conduct an

      incident        review        within     30     days          of    the

      conclusion           of       every       investigation               of

      substantiated         and     unsubstantiated            allegations

      of     sexual     abuse       or     staff-on-inmate            sexual

      harassment.          The review team shall:

        i.   Consider            whether     the      allegation            or

             investigation indicates a need to change

             policy        or     practice    to     better         prevent,

             detect,        or    respond     to    sexual       abuse      or

             staff-on-inmate sexual harassment;

        ii. Consider             whether      the         incident          or

             allegation            was      motivated          by        race;

             ethnicity; gender identity; lesbian, gay,

             bisexual,            transgender,            or        intersex


                                   91
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 92 of 127



             identification,            status,        or     perceived

             status; gang affiliation; or was motivated

             or     otherwise         caused      by     other       group

             dynamics at Tutwiler;

        iii. Examine     the     area    in    Tutwiler      where    the

             incident      allegedly          occurred       to    assess

             whether physical barriers in the area may

             enable abuse;

        iv. Assess the adequacy of staffing levels in

             that area during different shifts;

        v.   Review, by a warden or senior management,

             the     personnel        file      of     any        involved

             employees      to   assess       needs    in    background

             screening, training, and/or supervision;

        vi. Assess        whether        monitoring          technology

             should      be      deployed       or     augmented        to

             supplement supervision by staff; and

        vii. Prepare a report of its findings and any

             recommendations for improvement and submit

             such     report     to     the    Monitor,       DOJ,    the


                                 92
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 93 of 127



               Warden,           the      Department-wide                  PREA

               Coordinator,             and         Tutwiler's             PREA

               Compliance Manager.

    17. ADOC      and     Tutwiler           shall        implement         the

        recommendations           for     improvement            or     shall

        document its reasons for not doing so.

    18. Within 60 days of the Effective Date, ADOC and

        Tutwiler          shall         review            all         pending

        investigations alleging sexual abuse and sexual

        harassment          to         determine          whether           the

        investigation       was    conducted         according        to    the

        requirements        of     Section      III.        K.    of       this

        Agreement.      Within     120       days    of    the   Effective

        Date, ADOC and Tutwiler will conduct a similar

        review of all unfounded allegations of sexual

        assault and sexual harassment for the past 360

        days to determine whether the investigation was

        conducted       according       to     the    requirements           of

        Section III. K. of this Agreement.

L. Staff Disciplinary Actions


                                   93
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 94 of 127



        ADOC     and      Tutwiler             shall      take     appropriate

disciplinary action against staff found to have engaged

in     sexual    abuse       or    sexual        harassment       or    to     have

violated Tutwiler’s policies and procedures regarding

sexual abuse or sexual harassment.                      Accordingly:

       1. ADOC and Tutwiler shall develop, submit to the

          Monitor      and    DOJ        for     review    consistent          with

          Section      III.A.6.,          and     implement      policies      and

          procedures that track staff disciplinary actions

          related to allegations of sexual abuse or sexual

          harassment,        to    ensure        that   the      directives     in

          III.L.2-III.L.6 below are met.

       2. ADOC and Tutwiler shall ensure prompt corrective

          action    following        any        substantiated       finding      or

          recommendation            resulting           from       either       an

          administrative             or         criminal         investigation

          surrounding an incident of sexual abuse or sexual

          harassment.             This     will     include,      but    not     be

          limited to:




                                          94
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 95 of 127



          i.    Documented      disciplinary          sanctions        of

                staff; and

          ii. Permanent removal of staff from the post

                where the incident occurred.

  3. Staff shall be subject to disciplinary sanctions

     up    to   and    including     termination       for    violating

     ADOC’s       sexual     abuse        or   sexual        harassment

     policies.

  4. Termination shall be the presumptive disciplinary

     sanction for staff who have engaged in sexual

     abuse.

  5. Disciplinary sanctions for violations of agency

     policies      relating     to    sexual     abuse       or   sexual

     harassment        (other   than       actually     engaging       in

     sexual      abuse)    shall     be    commensurate       with   the

     nature and circumstances of the acts committed,

     the staff member’s disciplinary history, and the

     sanctions        imposed   for       comparable     offenses      by

     other staff with similar histories.




                                95
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 96 of 127



       6. All    terminations       for   violations     of    ADOC’s    and

          Tutwiler’s       sexual    abuse      or   sexual    harassment

          policies, or resignations by staff who would have

          been    terminated        for   sexual       abuse   or   sexual

          harassment,       if not for their resignation, shall

          be    reported    to   local     prosecutors,        unless    the

          activity was clearly not criminal in conformance

          with Alabama law, and to any relevant licensing

          bodies.

M. Limited English Proficient (LEP) Inmates

        ADOC and Tutwiler shall work with the Monitor to

develop and implement a policy providing for a method

of    interpretation        services      for    LEP    inmates.        This

method may be through a language telephone line, if

necessary.        ADOC and Tutwiler shall not rely on other

inmates or non-certified employees to translate and/or

interpret for LEP inmates.



         IV. QUALITY IMPROVEMENT AND DATA COLLECTION




                                     96
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 97 of 127



A. Within    one    year      of    the       Effective      Date,     ADOC   and

  Tutwiler shall develop and submit to the Monitor and

  DOJ for review consistent with Section III.A.6., and

  implement, written quality improvement policies and

  procedures        adequate        to    identify          and   address     any

  deficiencies           in   ADOC       and     Tutwiler’s        prevention,

  detection and response to sexual abuse and sexual

  harassment        at    Tutwiler        and       to   assess    and   ensure

  compliance with the terms of this Agreement.                              These

  quality        improvement       policies         and     procedures      shall

  include:

    1. Required monthly quality assurance meetings;

    2. Qualitative            review           procedures         to     ensure

       investigations              of     sexual         abuse    and    sexual

       harassment conform to the requirements of this

       Agreement;

    3. Data collection requirements, including:

            a.    The     procedures          for    data    maintenance      and

                  collection for every allegation of sexual

                  abuse and harassment;


                                         97
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 98 of 127



          b.    The sources for data collection including

                the   data    required     by   subsections       IV.C.,

                regarding       inmate        polling,     and      IV.D

                regarding        data      collection          (below),

                documentation of announced and unannounced

                rounds, grievances, reports, investigation

                files, and incident reviews;

          c.    The instrument(s) used to collect data;

          d.    The standardized definitions used;

          e.    The   methodology       employed    to   analyze     the

                data; and

          f.    Quality control mechanisms to verify data

                accuracy.

    4. A requirement to create or modify and implement

       policies and procedures to address problems that

       are     uncovered     during     the     course    of     quality

       improvement activities.

B. Within three months of the Effective Date, ADOC shall

  convene a state-wide working group to evaluate how




                                  98
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 99 of 127



  other   state        and    ADOC    entities       may     contribute   to

  Tutwiler’s compliance with this Agreement.

C. ADOC and Tutwiler shall establish a system wherein

  they      routinely          poll        inmates      regarding       their

  perceptions         of    the    implementation       of    the   specific

  terms of this Agreement including the prevalence of

  staff   sexual           abuse   and     sexual    harassment,      inmate

  vulnerability to sexual abuse and sexual harassment,

  the investigation and discipline of staff accused of

  sexual abuse and sexual harassment, the efficacy of

  inmate education regarding sexual abuse and sexual

  harassment, privacy in the showers and toilets, the

  appropriateness of inmate classification, the levels

  of staff supervision, the efficacy of the reporting

  systems       for    sexual       abuse     and    sexual     harassment

  including grievances, and official responses to, and

  retaliation         for,    allegations       of    sexual     abuse    and

  sexual harassment.

D. ADOC   and    Tutwiler          shall     develop,      implement,     and

  maintain, in consultation with the Monitor, a Risk


                                      99
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 100 of 127



Management       System        (“RMS”)     that    will    document      and

track facility trends related to:                       (1) sexual abuse

or     sexual      harassment;         (2)    unprofessional            staff

conduct       involving          inmates,         including       sexually

explicit, vulgar, or degrading language; and (3) use

of force incidents.                  The RMS will consist of the

data analysis described in this Section.                          To this

end, ADOC and Tutwiler shall:

     1. Develop,        implement,     and    maintain       a    tracking

       system      to     ensure     that     trends      and    incidents

       involving sexual abuse and sexual harassment are

       identified        and    corrected     in    a    timely    manner.

       ADOC     and     Tutwiler      shall    submit      the    proposed

       tracking system to the Monitor and DOJ for review

       consistent with Section III.A.6.

     2. Collect,        consolidate,         analyze,       track,       and

       otherwise        use    its    data    to    assist       with    the

       prevention of sexual abuse and sexual harassment.

       ADOC and Tutwiler data collection shall include:




                                     100
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 101 of 127



        i.    Number of inmate and third-party reports

              of:

              1.    sexual abuse at Tutwiler;

              2.    sexual harassment at Tutwiler;

              3.    staff     presence     in    the       shower   and

                    toilet     areas     of     the    bathrooms        at

                    Tutwiler;

              4.    unprofessional staff conduct involving

                    inmates, including sexually explicit,

                    vulgar,       degrading,          or      racially

                    insensitive or offensive language at

                    Tutwiler;

              5.    Tutwiler staff located in areas other

                    than their assigned posts; and

              6.    retaliatory treatment and threats to

                    inmates     or     third-parties,        including

                    disciplinary         actions       or      housing

                    relocation;




                                101
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 102 of 127



        ii. Number      and      names      of   Tutwiler         staff,    as

              well    as   staff       assigned        to     Tutwiler     on

              overtime, who:

              1.     engaged     in    or    allegedly         engaged      in

                     sexual abuse at Tutwiler;

              2.     engaged     in    or    allegedly         engaged      in

                     sexual harassment at Tutwiler;

            3. engaged in or allegedly engaged in use of

               force at Tutwiler;

            4. allegedly         violated        ADOC       and    Tutwiler

               policies        governing         sexual        abuse       and

               sexual harassment;

            5. allegedly violated the privacy rights of

               inmates      at     Tutwiler           by    entering       the

               shower and toilet areas unannounced;

            6. allegedly used sexually explicit, vulgar,

               degrading,        or    racially            insensitive      or

               offensive       language          on     a    frequent      or

               repeated basis at Tutwiler;




                                 102
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 103 of 127



            7. allegedly      were       located    in    areas    other

               than their assigned post at Tutwiler on a

               frequent or repeated basis;

            8. were disciplined for actions at Tutwiler

               involving           sexual          abuse,         sexual

               harassment, use of force, use of sexually

               explicit, vulgar, degrading, or racially

               insensitive         or     offensive      language,      or

               unprofessional             staff       conduct        with

               inmates,            including             terminations,

               suspensions, and resignations; and

            9. resigned while a sexual abuse or sexual

               harassment           allegation,           or       other

               investigation, was pending at Tutwiler;

        iii. Number     of   forensic       medical      exams,    exams

              performed       by        sexual     assault     forensic

              examiners, and exams performed by sexual

              assault nurse examiners;

        iv. Staffing levels, divided by gender, during

              different shifts, correlated to the number


                                103
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 104 of 127



              of    sexual      abuse     and        sexual    harassment

              allegations;

        v.    Locations        within    Tutwiler        where       alleged

              sexual      abuse         and         sexual     harassment

              occurred;

        vi. Length       of    stay     for    all    inmates    who       are

              housed in Dorm A or other intake housing

              area prior to classification;

        vii. Number      of    inmates        who    were     held    in   or

              assigned         to       involuntary           segregation

              because of a risk of sexual victimization

              for    a    period        longer        than      24    hours

              organized by length of stay;

        viii. Number      of    inmates        held     in    pre-hearing

               segregation and the length of time they

               spent there;

        ix.    Number and names of pregnant inmates at

               Tutwiler;

        x.     Number     of        cross-gender        strip,        visual

               cavity, and pat-down searches;


                                 104
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 105 of 127



        xi.    Upon    the     implementation          of    a    grievance

               system     at      Tutwiler,      the      number    of   all

               grievances,          emergency        grievances,         and

               number of grievances referred to I&I for

               investigation;

        xii. Number       of      times       ADOC   or     Tutwiler     has

               determined         that    a    Tutwiler      inmate      was

               subject to substantial risk of imminent

               sexual or physical abuse;

        xiii. Number      of      administrative          investigations

               initiated regarding allegations of sexual

               abuse or sexual harassment;

        xiv. Number          of     sexual       abuse       or      sexual

               harassment         investigations          that     involved

               extensions because a final decision had

               not been reached within 30 days;

        xv.    Number        of      instances            when      inmate

               interpreters were used in connection with

               sexual        abuse        or     sexual          harassment

               allegations or investigations;


                                  105
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 106 of 127



        xvi. Total       number     of    investigations,          total

               number       substantiated,            total       number

               unsubstantiated,           and         total       number

               unfounded complaints of sexual abuse or

               sexual harassment;

        xvii. Number of PREA related allegations from

               Tutwiler           referred           for      criminal

               investigation and the number of criminal

               prosecutions;

        xviii. Number of Tutwiler staff disciplined for

                 on- or off-duty conduct consistent with

                 departmental policy;

        xix.     Number      of       times     an      incident        of

                 retaliation       occurred,         consistent     with

                 PREA guidelines and involving Tutwiler

                 staff or inmates; and

        xx.      ADOC,     Tutwiler,     and    staff      reports      of

                 training       attendance,          frequency,      and

                 evaluation measures.




                                106
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 107 of 127



  3. Aggregate      the    data        collected      on    a     quarterly

     basis.

  4. Review data collected and aggregated pursuant to

     Section IV.D in order to assess and improve the

     effectiveness        of    its     sexual     abuse        and    sexual

     harassment      prevention,         detection,         and    response

     policies, practices, and training, including by:

        i.    Identifying        potential        patterns,        changes,

              and      problem          areas         (including          for

              individual             officers;        for       individual

              inmates;         and     for     housing       units);       to

              include     problems        in     Tutwiler’s        staffing

              levels,          policies,          practices,            staff

              discipline system, and staff and prisoner

              training/education               that         might        have

              contributed        to     those     patterns        if    such

              patterns     reflect        increased         sexual     abuse

              and sexual harassment , decreased sexual

              abuse and sexual harassment detection, or




                                 107
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 108 of 127



              inadequate responses to sexual abuse and

              sexual harassment;

        ii. Identifying staff or supervisors in need

              of    retraining,         performance            plans,      and

              discipline, while considering all aspects

              of the employee’s assignment;

        iii. Developing          an     array        of        intervention

              options       to        facilitate          an     effective

              response to identified problems;

        iv. Taking       corrective       action          on    an    ongoing

              basis; and

        v.    Preparing       bi-annual         reports              of    its

              findings and corrective actions, including

              a comparison to the findings in previous

              reports to assess progress.

  5. The RMS will rely on the data analysis described

     above.           All     appropriate            supervisors           and

     investigative       staff        shall   have    access         to   this

     data described above.




                                 108
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 109 of 127



        i.    Tutwiler’s      Warden       shall       use    information

              from the RMS to improve quality management

              practices,      identify         patterns      and    trends,

              and take necessary corrective action both

              on an individual and systemic level.

        ii. Supervisors           assigned       to     Tutwiler         will

              assure       that     remedial           activities         are

              completed,      as        well    as     report      if     the

              intervention        was     effective          in    changing

              behaviors.

        iii. The    commissioner         responsible         for    women’s

              facilities or her designee will manage the

              RMS and will conduct quarterly audits of

              the    RMS    to     ensure       that      analysis        and

              intervention are working effectively, and

              to identify potential patterns or trends

              resulting in harm to inmates.

  6. ADOC and Tutwiler will provide to the Monitor and

     DOJ on a bi-annual basis a list of all staff

     members     identified        through       the    RMS,       and   any


                                  109
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 110 of 127



          corrective action taken.             On an annual basis,

          ADOC   and   Tutwiler    shall       conduct    a     documented

          review of the RMS to ensure that it has been

          effective     in     identifying       concerns        regarding

          policy,    training,    or     the   need    for     discipline.

          ADOC and Tutwiler will document their review and

          conclusions and provide them to the Monitor and

          DOJ.

    7. If    three     consecutive       reports      suggest    that   the

          Agreement’s        intended     outcome        may     not      be

          occurring,    ADOC     and    Tutwiler      shall     convene   a

          team, including the Monitor and representatives

          of DOJ, to consider modifications to Tutwiler’s

          policies, procedures, and practices.

                         V. IMPLEMENTATION

A. ADOC    and      Tutwiler    shall     begin       implementing      the

  requirements of this Agreement immediately upon the

  Effective Date.

B. Unless otherwise specified in this Agreement, ADOC

  and Tutwiler shall have fully implemented, including


                                   110
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 111 of 127



  the training of staff, all policies and procedures

  required under this Agreement within nine months of

  the Effective Date.            The Monitor may grant ADOC an

  extension of time to meet a particular deadline, not

  to exceed three additional months.

C. ADOC and Tutwiler shall revise and/or develop and

  implement,         as     necessary,        any     other      policies,

  practices, procedures, protocols, training curricula,

  and    other    written       documents,          including       but    not

  limited      to,        screening        tools,    logs,      handbooks,

  manuals, and forms, to effectuate the provisions of

  this Agreement.

D. If, during the course of this Agreement, the State of

  Alabama or ADOC decides to replace or supplement the

  physical       structures           at     Tutwiler        with         other

  building(s), they shall notify the Monitor and DOJ

  and   shall    include       the     Monitor      in   any    transition

  planning.




                                     111
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 112 of 127



     VI. ADOC AND TUTWILER’S REPORTING REQUIREMENTS

A. ADOC and Tutwiler shall provide to the Monitor and

  DOJ     a     confidential         bi-annual         self-assessment

  compliance report until the Agreement is terminated,

  the first of which shall be filed within six months

  of the Effective Date.

B. Each self-assessment compliance report shall describe

  the actions ADOC and Tutwiler have taken during the

  reporting     period      to    implement    this     Agreement    and

  shall     make     specific      reference     to     the   Agreement

  provisions being implemented.               The report shall also

  summarize        audits   and     continuous        improvement    and

  quality     assurance     activities,       and   contain    findings

  and recommendations that would be used to track and

  trend data compiled at Tutwiler.

C. ADOC and Tutwiler shall maintain sufficient records

  to document that the requirements of this Agreement

  are being properly implemented and shall make such

  records available to the DOJ at all reasonable times

  for inspection and copying.              In addition, ADOC and


                                   112
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 113 of 127



  Tutwiler     shall       maintain      and   submit       upon     request

  records or other documents to verify that they have

  taken     such    actions      as   described        in    their    self-

  assessment        compliance          reports        (e.g.,         census

  summaries, policies, procedures, protocols, training

  materials and incident reports) and will also provide

  all documents reasonably requested by DOJ.



                    VII. DOJ’S RIGHT OF ACCESS

A. DOJ and its attorneys, consultants, and agents shall

  have access to Tutwiler, Tutwiler inmates, ADOC and

  Tutwiler     staff       and    documents       as    is     reasonably

  necessary to evaluate compliance with this Agreement.

  DOJ will provide written notice prior to any site

  visits.

B. ADOC shall promptly notify DOJ upon any substantiated

  findings     of    sexual      abuse     and    sexual      harassment,

  retaliation and/or injury requiring emergency medical

  attention related to an allegation and/or incident of

  sexual    abuse     or    sexual    harassment,           including    any


                                  113
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 114 of 127



  incidents of self-harm.                 With this notification, ADOC

  and    Tutwiler       shall       forward          to   DOJ     any    related

  incident     reports     and       medical         and/or     mental    health

  reports and investigations as they become available.

C. DOJ shall notify ADOC promptly of any information

  received that an inmate is at risk of harm.



                           VIII. MONITORING

A. Selection and Autonomy of the Monitor:

    1. DOJ, ADOC, and Alabama have jointly selected a

        Monitor, Jennie Lancaster, to assess and report

        whether    the     provisions           of    this      Agreement   have

        been implemented, and whether this implementation

        is   resulting         in    a    reduction        of    incidents    of

        sexual         abuse        and        sexual        harassment      and

        professional treatment of inmates.

    2. The cost of the Monitor’s fees and expenses will

        be borne by ADOC and Alabama.                     ADOC will contract

        with     the     Monitor          to    provide       these     auditing

        services.       As part of that contract, a reasonable


                                         114
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 115 of 127



     budget will be agreed upon by and between ADOC

     and    the     Monitor    to   include     a    maximum     dollar

     amount that can be spent in a given 12 month

     period.         ADOC     and   Alabama     will      provide   the

     Monitor with a budget sufficient to carry out the

     responsibilities described in this Agreement.

  3. The     Monitor        shall     only    have        the   duties,

     responsibilities, and authority conferred by this

     Agreement.       The Monitor shall be subjected to the

     supervision and orders of the Court, the Court’s

     dismissal order, and applicable law.

  4. Neither ADOC, Tutwiler, DOJ, nor any of their

     staff     or    agents     shall    have       any    supervisory

     authority over the Monitor’s activities, reports,

     findings, or recommendations.              The Monitor may be

     terminated only for good cause unrelated to the

     Monitor’s findings and only with prior notice to,

     and approval of, Alabama, ADOC, and DOJ, acting

     jointly or by court order.




                                115
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 116 of 127



    5. The Monitor may contract or consult with other

       persons or entities to assist in the evaluation

       of compliance.                The Monitor will pay for the

       services         out    of     his/her     budget.            The    Monitor

       shall       be    permitted           to      engage     in     ex    parte

       communications with Alabama, ADOC, Tutwiler, DOJ,

       and the Court regarding this Agreement.

B. Monitor’s Access

    1. The Monitor shall have full and complete access

       to Tutwiler, all Tutwiler documents and records,

       inmate medical and mental health records, staff,

       and inmates.            The Monitor shall also have access

       to    any    ADOC           documents      or     data    she       requests

       related      to        any     facility         built    to     supplement

       Tutwiler.          ADOC and Tutwiler shall direct all

       employees to cooperate fully with the Monitor.

       All information obtained by the Monitor shall be

       maintained in a confidential manner.

    2. Within seven days of receipt, the Monitor shall

       distribute             to     DOJ       all       documents,         forms,


                                       116
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 117 of 127



       assessments,       and   reports     submitted     by   ADOC       or

       Tutwiler     unless      Alabama   and    ADOC   have    already

       distributed such items to DOJ.

C. Reporting

    1. Within three months of the Effective Date, the

       Monitor will conduct a baseline site visit.                  As a

       result of the baseline site visit, the Monitor

       will design a monitoring plan.             The baseline site

       visit will allow the Monitor to become familiar

       with the facility and this Agreement, and will

       allow the Monitor to inform ADOC, Tutwiler, and

       DOJ regarding what information the Monitor will

       require ADOC and Alabama to routinely report and

       with     what      frequency       consistent       with     this

       Agreement.

    2. The Monitor shall conduct an on-site inspection

       and issue a Compliance Report six months after

       the baseline visit, and then every six months

       thereafter.       A draft Report shall be provided to

       ADOC, Tutwiler, and DOJ in draft form for comment


                                  117
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 118 of 127



     at least 30 days prior to its issuance.                         ADOC,

     Tutwiler, and DOJ shall provide comments, if any,

     to the Monitor within 15 days of receipt of the

     draft Report.           The Monitor shall consider the

     responses of ADOC, Tutwiler, and DOJ and make

     appropriate changes, if any, before issuing the

     final Report.

  3. The Compliance Reports shall describe the steps

     taken    by    ADOC     and    Tutwiler      to    implement    this

     Agreement and evaluate the extent to which ADOC

     and Tutwiler have complied with each substantive

     provision of the Agreement.                Each Report:

        i.    Shall    evaluate          the   status    of   compliance

              for     each     relevant         provision       of    the

              Agreement      using       the   following      standards:

              (1)    Substantial          Compliance;     (2)    Partial

              Compliance; and (3) Non-compliance.                     The

              Monitor shall review a sufficient number

              of    pertinent       documents      and    interview     a

              sufficient number of staff and inmates to


                                   118
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 119 of 127



              accurately assess current conditions.                  The

              Monitor     may    also       communicate       with   ex-

              inmates,      family      members,       and     relevant

              community members to assist the Monitor’s

              assessment of current conditions;

        ii. Shall      describe       the   steps     taken    by    each

              member of the monitoring team to analyze

              conditions         and         assess       compliance,

              including         documents           reviewed         and

              individuals       interviewed,     and    the     factual

              basis for each of the Monitor’s findings;

        iii. Will      contain     the      Monitor’s     independent

              verification of representations from ADOC

              and    Tutwiler      regarding        progress     toward

              compliance, and examination of supporting

              documentation; and

        iv. Shall provide recommendations for each of

              the provisions in the Agreement outlining

              proposed actions for at least the next six

              months for ADOC and Tutwiler to complete


                                119
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 120 of 127



                toward      achieving      compliance        with      the

                particular provision.

    4. These Reports will be filed with the Court and

       shall be written with due regard for the privacy

       interests of individuals.

    5. Nothing     in   this    Section    prohibits      the    Monitor

       from issuing interim letters or reports to DOJ,

       ADOC, and Alabama or the Court via the public

       record      in    this    case     should     s/he       deem      it

       necessary.

D. Limitations

    1. Except as required or authorized by or necessary

       to evaluate the terms of this Agreement, or as

       directed by the court, or as authorized by ADOC,

       Tutwiler, and DOJ acting together, the Monitor

       shall not make any public statements (at a press

       conference or otherwise) with regard to any act

       or omission of ADOC or Tutwiler or their agents,

       representatives          or      employees,      or      disclose




                                  120
Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 121 of 127



     information provided to the Monitor pursuant to

     this Agreement.

  2. The    Monitor     shall      not      testify    in    any     other

     litigation or proceeding with regard to any act

     or omission of ADOC or Tutwiler or any of their

     agents, representatives, or employees related to

     this Agreement, nor testify regarding any matter

     or subject that he or she may have learned as a

     result     of    his    or    her      performance      under      this

     Agreement, nor serve as a non-testifying expert

     regarding any matter or subject that he or she

     may    have     learned      as    a   result    of    his    or   her

     performance under this Agreement.

  3. Unless such conflict is waived by ADOC, Tutwiler,

     and DOJ, the Monitor shall not accept employment

     or provide consulting services that would present

     a     conflict     of     interest        with    the    Monitor’s

     responsibilities under this Agreement, including

     being retained (on a paid or unpaid basis) by any

     current or future litigant or claimant, or such


                                  121
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 122 of 127



         litigant’s or claimant’s attorney, in connection

         with a claim or suit against ADOC or Tutwiler,

         their departments, officers, agents or employees.

    4. The Monitor is not a State/County or local agency

         or an agent thereof, and accordingly the records

         maintained by the Monitor shall not be deemed

         public records subject to public inspection.

    5. Neither        the    Monitor      nor     any    person      or        entity

         hired or otherwise retained by the Monitor to

         assist       in    furthering       any    provision             of     this

         Agreement shall be liable for any claim, lawsuit

         or     demand       arising        out     of        the     Monitor’s

         performance pursuant to this Agreement.

E. The   Monitor       shall   provide       ADOC       and    Tutwiler          with

  technical          assistance      as      requested.               Technical

  assistance         should    be    reasonable           and       should       not

  interfere          with   the     Monitor’s       ability          to        assess

  compliance.

F. The Monitor may convene regular monthly conference

  calls       with    the   DOJ,    ADOC,    and    Alabama         to     discuss


                                     122
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 123 of 127



  implementation        of    the     terms     of      the   Agreement,

  updates, and any other items that the Monitor and/or

  DOJ, ADOC, and Alabama wish to discuss.

G. ADOC and Tutwiler representatives and staff shall not

  retaliate against any person because that person has

  provided information or assistance to the Monitor or

  DOJ relating to this Agreement.

H. DOJ, ADOC, and Alabama and the Monitor will treat all

  personally identifiable information obtained pursuant

  to this Agreement as confidential.



                           IX. ENFORCEMENT

A. The   United     States    District      Court       for   the   Middle

  District     of   Alabama        will   retain     jurisdiction     over

  this    matter     for     the     purposes      of   enforcing    this

  Agreement.

B. During the period that this Agreement is in force,

  prior to initiating any enforcement proceedings in

  Court for an alleged failure to fulfill an obligation

  under this Agreement, the aggrieved party will notify


                                    123
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 124 of 127



  the other party in writing of the facts supporting

  the aggrieved party’s belief that the other party is

  not    in    compliance.           The    responding    party      will

  investigate the allegations and respond in writing

  within      30    days.     If    the    aggrieved   party    is    not

  satisfied with the other party’s response, DOJ, ADOC,

  and Alabama will conduct negotiations to resolve the

  issue(s).         If DOJ, ADOC, and Alabama are unable to

  resolve the issue(s) satisfactorily within 30 days of

  the   other       party’s   written      response,   the   aggrieved

  party may move the Court for any relief permitted by

  law or equity.



                   X. CONSTRUCTION AND TERMINATION

A. If any unforeseen circumstance occurs that causes a

  failure to timely carry out any requirements of this

  Agreement,        ADOC    and    Tutwiler   shall    notify   DOJ       in

  writing within 30               days (or as soon as reasonably

  practicable) after ADOC and Tutwiler become aware of

  the unforeseen circumstance and its impact on ADOC’s


                                    124
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 125 of 127



  and     Tutwiler’s       ability        to     perform     under       the

  Agreement.       The notice shall describe the cause of

  the    failure    to    perform    and       the    measures   taken    to

  prevent or minimize the failure.                    ADOC and Tutwiler

  shall implement all reasonable measures to avoid or

  minimize any such failure.

B. This Agreement shall terminate when ADOC and Tutwiler

  have achieved substantial compliance with all of the

  substantive      provisions       of    this       Agreement   in   three

  consecutive Compliance Reports.

C. The   burden     will     be     on     ADOC       and   Tutwiler      to

  demonstrate      that    they     have       maintained    substantial

  compliance       with    each     of    the     provisions     of    this

  Agreement.       Non-compliance with mere technicalities,

  or temporary failure to comply during a period of

  otherwise sustained compliance, will not constitute

  failure by ADOC and Tutwiler to maintain substantial

  compliance.       At the same time, temporary compliance

  during a period of sustained non-compliance will not

  constitute substantial compliance.


                                    125
     Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 126 of 127



D. The       burden    shall      be    on    ADOC     and   Tutwiler        to

     demonstrate they have achieved substantial compliance

     with a particular section of this Agreement.



             XII. STIPULATION PURSUANT TO THE PRISON

              LITIGATIONREFORM ACT, 18 U.S.C. § 3626

        DOJ, ADOC, and Alabama stipulate and agree that

this      Agreement       complies     in     all    respects      with   the

requirements for prospective relief under the Prison

Litigation Reform Act, 18 U.S.C. § 3626 (a).

DOJ, ADOC, and Alabama stipulate and agree that all of

the prospective relief in this Agreement is narrowly

tailored, extends no further than would be necessary to

correct the violations of federal rights as set forth

by     the   United      States   in    its   Complaint      and    Findings

Letter,       is   the    least    intrusive         means   necessary       to

correct these violations, and will not have an adverse

impact on public safety or the operation of a criminal

justice system. Any admission made for the purposes of




                                       126
  Case 2:15-cv-00368-MHT-TFM Document 11 Filed 06/18/15 Page 127 of 127



this Agreement is not admissible if presented by third

parties in another proceeding.

    DONE, this the 18th day of June, 2015.

                                  _ /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                  127
